               Case 17-50323-jrs               Doc 1      Filed 01/05/17 Entered 01/05/17 12:45:06                        Desc Main
                                                          Document Page 1 of 80
 Fill in this information to identify your case:

     United States Bankruptcy Court for the:
               Northern District Of Georgia
     ___________________________________________

     Case number (If known): _________________________ Chapter you are filing under:
                                                             Chapter 7
                                                             Chapter 11
                                                             Chapter 12
                                                          
                                                          X
                                                              Chapter 13                                                Check if this is an
                                                                                                                           amended filing


Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                       12/15

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


Part 1:       Identify Yourself

                                        About Debtor 1:                                           About Debtor 2 (Spouse Only in a Joint Case):
1.    Your full name
       Write the name that is on your
       government-issued picture        Kristie
                                        __________________________________________________        __________________________________________________
       identification (for example,     First name                                                First name
       your driver’s license or         Jackson
                                        __________________________________________________        __________________________________________________
       passport).                       Middle name                                               Middle name

       Bring your picture               Stargell
                                        __________________________________________________        __________________________________________________
       identification to your meeting   Last name                                                 Last name
       with the trustee.                ___________________________                               ___________________________
                                        Suffix (Sr., Jr., II, III)                                Suffix (Sr., Jr., II, III)




2.    All other names you               __________________________________________________        __________________________________________________
      have used in the last 8           First name                                                First name
      years
                                        __________________________________________________        __________________________________________________
       Include your married or          Middle name                                               Middle name
       maiden names.                    __________________________________________________        __________________________________________________
                                        Last name                                                 Last name

                                        __________________________________________________        __________________________________________________
                                        First name                                                First name

                                        __________________________________________________        __________________________________________________
                                        Middle name                                               Middle name
                                        __________________________________________________        __________________________________________________
                                        Last name                                                 Last name




3.    Only the last 4 digits of
      your Social Security              xxx    – xx – ____
                                                      7    3
                                                           ____ 4
                                                                ____ 3
                                                                     ____                        xxx    – xx – ____ ____ ____ ____
      number or federal                 OR                                                       OR
      Individual Taxpayer
      Identification number             9 xx – xx – ____ ____ ____ ____                          9 xx – xx – ____ ____ ____ ____
      (ITIN)

Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                           page 1
              Case 17-50323-jrs                  Doc 1           Filed 01/05/17 Entered 01/05/17 12:45:06                           Desc Main
                                                                 Document Page 2 of 80
Debtor 1        Kristie Jackson Stargell
                _______________________________________________________                            Case number (if known)_____________________________________
                First Name   Middle Name             Last Name




                                           About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):


4.    Any business names
      and Employer                         
                                           X
                                             I have not used any business names or EINs.                 I have not used any business names or EINs.
      Identification Numbers
      (EIN) you have used in               _________________________________________________            _________________________________________________
      the last 8 years                     Business name                                                Business name

      Include trade names and
                                           _________________________________________________            _________________________________________________
      doing business as names              Business name                                                Business name


                                           ___ ___ – ___ ___ ___ ___ ___ ___ ___                        ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                           EIN                                                          EIN

                                           ___ ___ – ___ ___ ___ ___ ___ ___ ___                        ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                           EIN                                                          EIN




5.    Where you live                                                                                    If Debtor 2 lives at a different address:


                                           217 Saint Martins Lane SE
                                           _________________________________________________            _________________________________________________
                                           Number     Street                                            Number     Street


                                           _________________________________________________            _________________________________________________


                                           Mableton                        GA       30216
                                           _________________________________________________            _________________________________________________
                                           City                            State   ZIP Code             City                            State   ZIP Code

                                           COBB
                                           _________________________________________________            _________________________________________________
                                           County                                                       County


                                           If your mailing address is different from the one            If Debtor 2’s mailing address is different from
                                           above, fill it in here. Note that the court will send        yours, fill it in here. Note that the court will send
                                           any notices to you at this mailing address.                  any notices to this mailing address.


                                           _________________________________________________            _________________________________________________
                                           Number     Street                                            Number     Street


                                           _________________________________________________            _________________________________________________
                                           P.O. Box                                                     P.O. Box

                                           _________________________________________________            _________________________________________________
                                           City                            State   ZIP Code             City                            State   ZIP Code




6.    Why you are choosing                 Check one:                                                   Check one:
      this district to file for
      bankruptcy                            Over the last 180 days before filing this petition,
                                           X
                                                                                                         Over the last 180 days before filing this petition,
                                               I have lived in this district longer than in any            I have lived in this district longer than in any
                                               other district.                                             other district.

                                            I have another reason. Explain.                             I have another reason. Explain.
                                               (See 28 U.S.C. § 1408.)                                     (See 28 U.S.C. § 1408.)
                                               ________________________________________                    ________________________________________
                                               ________________________________________                    ________________________________________
                                               ________________________________________                    ________________________________________
                                               ________________________________________                    ________________________________________



     Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                   page 2
              Case 17-50323-jrs                  Doc 1           Filed 01/05/17 Entered 01/05/17 12:45:06                           Desc Main
                                                                 Document Page 3 of 80
Debtor 1        Kristie Jackson Stargell
                _______________________________________________________                            Case number (if known)_____________________________________
                First Name   Middle Name             Last Name




Part 2:       Tell the Court About Your Bankruptcy Case


7.    The chapter of the                   Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
      Bankruptcy Code you                  for Bankruptcy (Form B2010)). Also, go to the top of page 1 and check the appropriate box.
      are choosing to file
      under
                                            Chapter 7
                                            Chapter 11
                                            Chapter 12
                                           
                                           X Chapter 13




8.    How you will pay the fee             
                                           X I will pay the entire fee when I file my petition. Please check with the clerk’s office in your

                                              local court for more details about how you may pay. Typically, if you are paying the fee
                                              yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                              submitting your payment on your behalf, your attorney may pay with a credit card or check
                                              with a pre-printed address.

                                            I need to pay the fee in installments. If you choose this option, sign and attach the
                                              Application for Individuals to Pay Your Filing Fee in Installments (Official Form 103A).

                                            I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                              By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                              less than 150% of the official poverty line that applies to your family size and you are unable to
                                              pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                              Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.    Have you filed for                   
                                           X No

      bankruptcy within the
      last 8 years?                         Yes.    District __________________________ When     _______________ Case number ___________________________
                                                                                                  MM / DD / YYYY

                                                     District __________________________ When     _______________ Case number ___________________________
                                                                                                  MM / DD / YYYY

                                                     District __________________________ When     _______________ Case number ___________________________
                                                                                                  MM / DD / YYYY



10.   Are any bankruptcy                   
                                           X No

      cases pending or being
      filed by a spouse who is              Yes.    Debtor _________________________________________________ Relationship to you      _____________________
      not filing this case with                      District __________________________ When     _______________ Case number, if known____________________
      you, or by a business                                                                       MM / DD / YYYY
      partner, or by an
      affiliate?
                                                     Debtor _________________________________________________ Relationship to you      _____________________

                                                     District __________________________ When     _______________ Case number, if known____________________
                                                                                                  MM / DD / YYYY



11.   Do you rent your                     
                                           X
                                             No.     Go to line 12.
      residence?                            Yes.    Has your landlord obtained an eviction judgment against you and do you want to stay in your
                                                     residence?

                                                        No. Go to line 12.
                                                        Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with
                                                         this bankruptcy petition.



     Official Form 101                              Voluntary Petition for Individuals Filing for Bankruptcy                                   page 3
              Case 17-50323-jrs                       Doc 1           Filed 01/05/17 Entered 01/05/17 12:45:06                             Desc Main
                                                                      Document Page 4 of 80
Debtor 1        Kristie Jackson Stargell
                _______________________________________________________                                    Case number (if known)_____________________________________
                First Name        Middle Name             Last Name




Part 3:       Report About Any Businesses You Own as a Sole Proprietor


12.   Are you a sole proprietor                 
                                                X
                                                  No. Go to Part 4.
      of any full- or part-time
      business?                                  Yes. Name and location of business
      A sole proprietorship is a
      business you operate as an                         _______________________________________________________________________________________
                                                         Name of business, if any
      individual, and is not a
      separate legal entity such as
      a corporation, partnership, or                     _______________________________________________________________________________________
                                                         Number    Street
      LLC.
      If you have more than one
                                                         _______________________________________________________________________________________
      sole proprietorship, use a
      separate sheet and attach it
      to this petition.                                  _______________________________________________          _______      __________________________
                                                          City                                                    State        ZIP Code


                                                         Check the appropriate box to describe your business:
                                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                            None of the above


13.   Are you filing under                      If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
      Chapter 11 of the                         can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
      Bankruptcy Code and                       most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                                any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      are you a small business
      debtor?
                                                
                                                X
                                                  No.    I am not filing under Chapter 11.
      For a definition of small
      business debtor, see                       No.    I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
      11 U.S.C. § 101(51D).                              the Bankruptcy Code.

                                                 Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                         Bankruptcy Code.


Part 4:       Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


14.   Do you own or have any                     No
      property that poses or is
      alleged to pose a threat                   Yes.    What is the hazard?      ________________________________________________________________________
      of imminent and
      identifiable hazard to                                                       ________________________________________________________________________
      public health or safety?
      Or do you own any
      property that needs
                                                          If immediate attention is needed, why is it needed? _______________________________________________
      immediate attention?
      For example, do you own                                                      ________________________________________________________________________
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?
                                                          Where is the property? ________________________________________________________________________
                                                                                   Number         Street


                                                                                   ________________________________________________________________________

                                                                                  ________________________________________ _______            ____________________
                                                                                  City                                     State              ZIP Code


  Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                    page 4
              Case 17-50323-jrs                    Doc 1            Filed 01/05/17 Entered 01/05/17 12:45:06                                Desc Main
                                                                    Document Page 5 of 80
Debtor 1        Kristie Jackson Stargell
                _______________________________________________________                                    Case number (if known)_____________________________________
                First Name     Middle Name              Last Name




Part 5:       Explain Your Efforts to Receive a Briefing About Credit Counseling

                                             About Debtor 1:                                                     About Debtor 2 (Spouse Only in a Joint Case):
15.   Tell the court whether
      you have received
      briefing about credit                  You must check one:                                                 You must check one:
      counseling.
                                              I received a briefing from an approved credit
                                             X
                                                                                                                  I received a briefing from an approved credit
                                                 counseling agency within the 180 days before I                     counseling agency within the 180 days before I
      The law requires that you                  filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
      receive a briefing about credit            certificate of completion.                                         certificate of completion.
      counseling before you file for
                                                 Attach a copy of the certificate and the payment                   Attach a copy of the certificate and the payment
      bankruptcy. You must
                                                 plan, if any, that you developed with the agency.                  plan, if any, that you developed with the agency.
      truthfully check one of the
      following choices. If you
      cannot do so, you are not
                                              I received a briefing from an approved credit                      I received a briefing from an approved credit
                                                 counseling agency within the 180 days before I                     counseling agency within the 180 days before I
      eligible to file.                          filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
                                                 certificate of completion.                                         certificate of completion.
      If you file anyway, the court
                                                 Within 14 days after you file this bankruptcy petition,            Within 14 days after you file this bankruptcy petition,
      can dismiss your case, you
                                                 you MUST file a copy of the certificate and payment                you MUST file a copy of the certificate and payment
      will lose whatever filing fee
                                                 plan, if any.                                                      plan, if any.
      you paid, and your creditors
      can begin collection activities         I certify that I asked for credit counseling                       I certify that I asked for credit counseling
      again.                                     services from an approved agency, but was                          services from an approved agency, but was
                                                 unable to obtain those services during the 7                       unable to obtain those services during the 7
                                                 days after I made my request, and exigent                          days after I made my request, and exigent
                                                 circumstances merit a 30-day temporary waiver                      circumstances merit a 30-day temporary waiver
                                                 of the requirement.                                                of the requirement.
                                                 To ask for a 30-day temporary waiver of the                        To ask for a 30-day temporary waiver of the
                                                 requirement, attach a separate sheet explaining                    requirement, attach a separate sheet explaining
                                                 what efforts you made to obtain the briefing, why                  what efforts you made to obtain the briefing, why
                                                 you were unable to obtain it before you filed for                  you were unable to obtain it before you filed for
                                                 bankruptcy, and what exigent circumstances                         bankruptcy, and what exigent circumstances
                                                 required you to file this case.                                    required you to file this case.
                                                 Your case may be dismissed if the court is                         Your case may be dismissed if the court is
                                                 dissatisfied with your reasons for not receiving a                 dissatisfied with your reasons for not receiving a
                                                 briefing before you filed for bankruptcy.                          briefing before you filed for bankruptcy.
                                                 If the court is satisfied with your reasons, you must              If the court is satisfied with your reasons, you must
                                                 still receive a briefing within 30 days after you file.            still receive a briefing within 30 days after you file.
                                                 You must file a certificate from the approved                      You must file a certificate from the approved
                                                 agency, along with a copy of the payment plan you                  agency, along with a copy of the payment plan you
                                                 developed, if any. If you do not do so, your case                  developed, if any. If you do not do so, your case
                                                 may be dismissed.                                                  may be dismissed.
                                                 Any extension of the 30-day deadline is granted                    Any extension of the 30-day deadline is granted
                                                 only for cause and is limited to a maximum of 15                   only for cause and is limited to a maximum of 15
                                                 days.                                                              days.

                                              I am not required to receive a briefing about                      I am not required to receive a briefing about
                                                 credit counseling because of:                                      credit counseling because of:

                                                  Incapacity.       I have a mental illness or a mental             Incapacity.      I have a mental illness or a mental
                                                                     deficiency that makes me                                          deficiency that makes me
                                                                     incapable of realizing or making                                  incapable of realizing or making
                                                                     rational decisions about finances.                                rational decisions about finances.
                                                  Disability.       My physical disability causes me                Disability.      My physical disability causes me
                                                                     to be unable to participate in a                                  to be unable to participate in a
                                                                     briefing in person, by phone, or                                  briefing in person, by phone, or
                                                                     through the internet, even after I                                through the internet, even after I
                                                                     reasonably tried to do so.                                        reasonably tried to do so.
                                                  Active duty.      I am currently on active military               Active duty.     I am currently on active military
                                                                     duty in a military combat zone.                                   duty in a military combat zone.
                                                 If you believe you are not required to receive a                   If you believe you are not required to receive a
                                                 briefing about credit counseling, you must file a                  briefing about credit counseling, you must file a
                                                 motion for waiver of credit counseling with the court.             motion for waiver of credit counseling with the court.




  Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                                         page 5
            Case 17-50323-jrs                    Doc 1           Filed 01/05/17 Entered 01/05/17 12:45:06                               Desc Main
                                                                 Document Page 6 of 80
Debtor 1       Kristie Jackson Stargell
               _______________________________________________________                                  Case number (if known)_____________________________________
               First Name    Middle Name             Last Name




Part 6:      Answer These Questions for Reporting Purposes

                                           16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16.   What kind of debts do                     as “incurred by an individual primarily for a personal, family, or household purpose.”
      you have?
                                                   No. Go to line 16b.
                                                
                                                X
                                                    Yes. Go to line 17.

                                           16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                money for a business or investment or through the operation of the business or investment.
                                                   No. Go to line 16c.
                                                   Yes. Go to line 17.

                                           16c. State the type of debts you owe that are not consumer debts or business debts.
                                                _______________________________________________________________

17.   Are you filing under
      Chapter 7?                           
                                           X
                                             No.    I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after            Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      any exempt property is                        administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      excluded and                                     No
      administrative expenses
      are paid that funds will be                      Yes
      available for distribution
      to unsecured creditors?

18.   How many creditors do                
                                           X
                                             1-49                                      1,000-5,000                            25,001-50,000
      you estimate that you                 50-99                                     5,001-10,000                           50,001-100,000
      owe?                                  100-199                                   10,001-25,000                          More than 100,000
                                            200-999
19.   How much do you                       $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
      estimate your assets to               $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
      be worth?                            
                                           X
                                             $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                            $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
20.   How much do you                       $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
      estimate your liabilities             $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
      to be?                                $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                           
                                           X
                                             $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
Part 7:      Sign Below

                                           I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                    correct.
                                           If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                           of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                           under Chapter 7.
                                           If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                           this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                           I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                           I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                           with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                           18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                             /s/Kristie Jackson Stargell
                                              ______________________________________________               _____________________________
                                              Signature of Debtor 1                                            Signature of Debtor 2

                                                          01/05/2017
                                              Executed on _________________                                    Executed on __________________
                                                                 MM   / DD   / YYYY                                          MM / DD     / YYYY


  Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                       page 6
           Case 17-50323-jrs                  Doc 1           Filed 01/05/17 Entered 01/05/17 12:45:06                               Desc Main
                                                              Document Page 7 of 80
Debtor 1     Kristie Jackson Stargell
             _______________________________________________________                               Case number (if known)_____________________________________
             First Name   Middle Name             Last Name




                                        I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are           to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                      available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                        the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented              knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                        _________________________________
                                            /s/A. Allen Hammond                                             Date           _________________
                                                                                                                           01/05/2017
                                           Signature of Attorney for Debtor                                                MM    /   DD / YYYY




                                           A. Allen Hammond
                                           _________________________________________________________________________________________________
                                           Printed name

                                           Hammond & Hammond, P.C.
                                           _________________________________________________________________________________________________
                                           Firm name

                                           122 South Main Street
                                           _________________________________________________________________________________________________
                                           Number Street

                                           _________________________________________________________________________________________________

                                           Jonesboro
                                           ______________________________________________________ GA
                                                                                                  ____________ 30236
                                                                                                               ______________________________
                                           City                                                   State        ZIP Code




                                                         (770) 603-6572
                                           Contact phone _____________________________________             Email address   allen@hhdebthelp.com
                                                                                                                           ______________________________




                                           321659
                                           ______________________________________________________ GA
                                                                                                  ____________
                                           Bar number                                             State




  Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                       page 7
               Case 17-50323-jrs               Doc 1        Filed 01/05/17 Entered 01/05/17 12:45:06                          Desc Main
                                                            Document Page 8 of 80

 Fill in this information to identify your case:

 Debtor 1           Kristie                 Jackson               Stargell
                   __________________________________________________________________
                     First Name             Middle Name                Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name             Middle Name                Last Name


                                          Northern District of Georgia
 United States Bankruptcy Court for the: ____________________________________________

 Case number         ___________________________________________
  (If known)                                                                                                                           Check if this is an
                                                                                                                                         amended filing




Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                     04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.


 Part 1:         Give Details About Your Marital Status and Where You Lived Before


 1. What is your current marital status?


       Married
      
      X Not married




 2. During the last 3 years, have you lived anywhere other than where you live now?

          No
     
     X
           Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

               Debtor 1:                                        Dates Debtor 1       Debtor 2:                                             Dates Debtor 2
                                                                lived there                                                                lived there

                                                                                      Same as Debtor 1                                      Same as Debtor 1

               5445 Trumpet Vine Trail
               __________________________________________       From      04/01/12
                                                                         ________       ___________________________________________           From ________
                Number    Street                                                        Number Street
                                                                To        04/01/15
                                                                         ________                                                             To    ________
               __________________________________________                               ___________________________________________

                Mableton                GA     30126
               __________________________________________                               ___________________________________________
               City                     State ZIP Code                                  City                     State ZIP Code


                                                                                      Same as Debtor 1                                      Same as Debtor 1

               6320 Love Street
               __________________________________________       From      04/01/15
                                                                         ________       ___________________________________________           From ________
                Number    Street                                                        Number Street
                                                                To        12/01/15
                                                                         ________                                                             To    ________
               __________________________________________                               ___________________________________________

                Austell                 GA     30168
               __________________________________________                               ___________________________________________
               City                     State ZIP Code                                  City                     State   ZIP Code


 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property states
     and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
     
     X     No
          Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




 Official Form 107                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                               page 1
              Case 17-50323-jrs                      Doc 1         Filed 01/05/17 Entered 01/05/17 12:45:06                                    Desc Main
                                                                   Document Page 9 of 80
Debtor 1        Kristie Jackson Stargell
                _______________________________________________________                                    Case number (if known)_____________________________________
                First Name      Middle Name            Last Name




 Part 2: Explain the Sources of Your Income

 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

          No
    
     X     Yes. Fill in the details.

                                                             Debtor 1                                               Debtor 2

                                                             Sources of income             Gross income             Sources of income            Gross income
                                                             Check all that apply.         (before deductions and   Check all that apply.        (before deductions and
                                                                                           exclusions)                                           exclusions)


            From January 1 of current year until
                                                              
                                                              X
                                                                   Wages, commissions,                                 Wages, commissions,
                                                                   bonuses, tips            0.00
                                                                                           $________________            bonuses, tips            $________________
            the date you filed for bankruptcy:
                                                                  Operating a business                                Operating a business


            For last calendar year:                           
                                                              X
                                                                   Wages, commissions,                                 Wages, commissions,
                                                                   bonuses, tips            75,184.45
                                                                                           $________________            bonuses, tips            $________________
                                       2016
            (January 1 to December 31, _________)                 Operating a business                                Operating a business
                                              YYYY



            For the calendar year before that:                
                                                              X
                                                                   Wages, commissions,                                 Wages, commissions,
                                                                   bonuses, tips                                        bonuses, tips
                                                                                            59,850.00
                                                                                           $________________                                     $________________
                                       2015
            (January 1 to December 31, _________)                 Operating a business                                Operating a business
                                              YYYY



 5. Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

          No
     
     X
           Yes. Fill in the details.
                                                              Debtor 1                                               Debtor 2

                                                              Sources of income            Gross income from         Sources of income           Gross income from
                                                              Describe below.              each source               Describe below.             each source
                                                                                           (before deductions and                                (before deductions and
                                                                                           exclusions)                                           exclusions)


                                                            __________________            $_________________ _____________________ $_________________
            From January 1 of current year until
            the date you filed for bankruptcy:              __________________            $_________________ _____________________ $_________________
                                                            __________________            $_________________ _____________________ $_________________


            For last calendar year:                         Child Support
                                                            __________________             500.00
                                                                                          $_________________ _____________________ $_________________

                                       2016
            (January 1 to December 31, ______)              __________________            $_________________ _____________________ $_________________
                                              YYYY
                                                            __________________            $_________________ _____________________ $_________________



            For the calendar year before that:              __________________            $_________________ _____________________ $_________________
                                       2015
            (January 1 to December 31, ______)              __________________            $_________________ _____________________ $_________________
                                              YYYY
                                                            __________________            $_________________ _____________________ $_________________




Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 2
             Case 17-50323-jrs                        Doc 1         Filed 01/05/17 Entered 01/05/17 12:45:06                        Desc Main
                                                                    Document Page 10 of 80
Debtor 1        Kristie Jackson Stargell
               _______________________________________________________                             Case number (if known)_____________________________________
               First Name       Middle Name             Last Name




 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy



 6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

          No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
               “incurred by an individual primarily for a personal, family, or household purpose.”
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

                   No. Go to line 7.

                   Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
                         total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                         child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

    X    Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

               X
                    No. Go to line 7.

                   Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                         creditor. Do not include payments for domestic support obligations, such as child support and
                         alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                        Dates of    Total amount paid        Amount you still owe       Was this payment for…
                                                                        payment


                      ____________________________________
                      Creditor’s Name
                                                                        _________   $_________________ $__________________               Mortgage
                                                                                                                                         Car
                      ____________________________________              _________
                      Number    Street                                                                                                   Credit card
                                                                                                                                         Loan repayment
                      ____________________________________              _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________
                      City                    State         ZIP Code                                                                     Other ____________


                      ____________________________________              _________   $_________________ $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                         Car
                      ____________________________________
                      Number    Street
                                                                        _________                                                        Credit card
                                                                                                                                         Loan repayment
                      ____________________________________              _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________
                      City                    State         ZIP Code
                                                                                                                                         Other ____________



                      ____________________________________              _________   $_________________ $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                         Car
                      ____________________________________
                      Number    Street
                                                                        _________                                                        Credit card
                                                                                                                                         Loan repayment
                      ____________________________________              _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________
                      City                    State         ZIP Code
                                                                                                                                         Other ____________



Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 3
             Case 17-50323-jrs                       Doc 1           Filed 01/05/17 Entered 01/05/17 12:45:06                           Desc Main
                                                                     Document Page 11 of 80
Debtor 1           Kristie Jackson Stargell
                   _______________________________________________________                            Case number (if known)_____________________________________
                   First Name      Middle Name           Last Name




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
     such as child support and alimony.

     
     X
           No
          Yes. List all payments to an insider.
                                                                          Dates of    Total amount      Amount you still   Reason for this payment
                                                                          payment     paid              owe


            ____________________________________________                _________    $____________ $____________
            Insider’s Name


            ____________________________________________                _________
            Number        Street


            ____________________________________________                _________

            ____________________________________________
            City                                 State   ZIP Code



            ____________________________________________                _________    $____________ $____________
            Insider’s Name

            ____________________________________________                _________
            Number        Street


            ____________________________________________                _________

            ____________________________________________
            City                                 State   ZIP Code


 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     Include payments on debts guaranteed or cosigned by an insider.

     
     X
           No
          Yes. List all payments that benefited an insider.
                                                                         Dates of      Total amount     Amount you still   Reason for this payment
                                                                         payment       paid             owe
                                                                                                                           Include creditor’s name

            ____________________________________________                _________    $____________ $____________
            Insider’s Name


            ____________________________________________                _________
            Number        Street


            ____________________________________________                _________

            ____________________________________________
            City                                 State   ZIP Code




            ____________________________________________                             $____________ $____________
                                                                        _________
            Insider’s Name


            ____________________________________________                _________
            Number        Street


            ____________________________________________                _________

            ____________________________________________
            City                                 State   ZIP Code




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 4
              Case 17-50323-jrs                         Doc 1            Filed 01/05/17 Entered 01/05/17 12:45:06                                 Desc Main
                                                                         Document Page 12 of 80
Debtor 1        Kristie Jackson Stargell
                _______________________________________________________                                        Case number (if known)_____________________________________
                First Name            Middle Name            Last Name




  Part 4:       Identify Legal Actions, Repossessions, and Foreclosures

 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
     and contract disputes.

     
     X
           No
          Yes. Fill in the details.
                                                                    Nature of the case                   Court or agency                                 Status of the case



            Case title_____________________________
                                                                                                        ________________________________________
                                                                                                        Court Name
                                                                                                                                                           Pending

                                                                                                                                                           On appeal
            ____________________________________                                                        ________________________________________
                                                                                                        Number    Street                                   Concluded

            Case number ________________________                                                        ________________________________________
                                                                                                        City                   State   ZIP Code




            Case title_____________________________
                                                                                                        ________________________________________
                                                                                                        Court Name
                                                                                                                                                           Pending

                                                                                                                                                           On appeal
            ____________________________________                                                        ________________________________________
                                                                                                        Number    Street                                   Concluded

            Case number ________________________                                                        ________________________________________
                                                                                                        City                   State   ZIP Code


 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

     X
           No. Go to line 11.
          Yes. Fill in the information below.

                                                                              Describe the property                                     Date          Value of the property



                 _________________________________________                                                                              __________     $______________
                 Creditor’s Name


                 _________________________________________
                 Number      Street                                           Explain what happened

                                                                                  Property was repossessed.
                 _________________________________________
                                                                                  Property was foreclosed.
                                                                                  Property was garnished.
                 _________________________________________
                 City                               State   ZIP Code              Property was attached, seized, or levied.

                                                                              Describe the property                                     Date           Value of the property



                                                                                                                                       __________      $______________
                 _________________________________________
                 Creditor’s Name


                 _________________________________________
                 Number      Street
                                                                              Explain what happened

                 _________________________________________                        Property was repossessed.
                                                                                  Property was foreclosed.
                 _________________________________________                        Property was garnished.
                 City                               State   ZIP Code
                                                                                  Property was attached, seized, or levied.



Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 5
              Case 17-50323-jrs                      Doc 1           Filed 01/05/17 Entered 01/05/17 12:45:06                            Desc Main
                                                                     Document Page 13 of 80
Debtor 1          Kristie Jackson Stargell
                  _______________________________________________________                                Case number (if known)_____________________________________
                  First Name     Middle Name             Last Name




 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?
     
     X
           No
          Yes. Fill in the details.

                                                                 Describe the action the creditor took                         Date action       Amount
                                                                                                                               was taken
           ______________________________________
           Creditor’s Name


           ______________________________________                                                                             ____________ $________________
           Number     Street


           ______________________________________

           ______________________________________
           City                           State   ZIP Code       Last 4 digits of account number: XXXX–___ ___ ___ ___


 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
     creditors, a court-appointed receiver, a custodian, or another official?
     
     X
           No
          Yes

 Part 5:          List Certain Gifts and Contributions


 13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

     
     X     No
          Yes. Fill in the details for each gift.


            Gifts with a total value of more than $600           Describe the gifts                                            Dates you gave        Value
            per person                                                                                                         the gifts



           ______________________________________                                                                              _________           $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________           $_____________
           Number Street

           ______________________________________


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you    ______________


           Gifts with a total value of more than $600            Describe the gifts                                            Dates you gave      Value
           per person                                                                                                          the gifts


           ______________________________________                                                                              _________           $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________           $_____________
           Number Street


           ______________________________________


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you ______________


Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 6
              Case 17-50323-jrs                       Doc 1            Filed 01/05/17 Entered 01/05/17 12:45:06                                   Desc Main
                                                                       Document Page 14 of 80
Debtor 1           Kristie Jackson Stargell
                   _______________________________________________________                                     Case number (if known)_____________________________________
                   First Name     Middle Name              Last Name




 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     
     X
           No
          Yes. Fill in the details for each gift or contribution.

            Gifts or contributions to charities                   Describe what you contributed                                         Date you            Value
            that total more than $600                                                                                                   contributed



           _____________________________________                                                                                        _________           $_____________
           Charity’s Name


           _____________________________________                                                                                        _________           $_____________
           Number Street


           _____________________________________



           _____________________________________
           City           State    ZIP Code




 Part 6:           List Certain Losses


 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
     or gambling?

     
     X
           No
          Yes. Fill in the details.

            Describe the property you lost and how                 Describe any insurance coverage for the loss                         Date of your loss   Value of property
            the loss occurred                                                                                                                               lost
                                                                   Include the amount that insurance has paid. List pending insurance
                                                                   claims on line 33 of Schedule A/B: Property.


                                                                                                                                        _________           $_____________




 Part 7:          List Certain Payments or Transfers

 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
     consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

          No
     
     X
           Yes. Fill in the details.

                                                                   Description and value of any property transferred                    Date payment or     Amount of payment
            Hammond & Hammond, P.C.                                                                                                     transfer was made
            ___________________________________
            Person Who Was Paid
                                                                 Filing Fee
            122 South Main Street
            ___________________________________
            Number       Street                                                                                                         01/04/17
                                                                                                                                        _________            310.00
                                                                                                                                                            $_____________

            ___________________________________
                                                                                                                                        _________           $_____________
            Jonesboro           GA     30236
            ___________________________________
            City                       State    ZIP Code

             allen@hhdebthelp.com
            ____________________________________________
            Email or website address

            ___________________________________
            Person Who Made the Payment, if Not You



Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                              page 7
              Case 17-50323-jrs                       Doc 1             Filed 01/05/17 Entered 01/05/17 12:45:06                               Desc Main
                                                                        Document Page 15 of 80
Debtor 1           Kristie Jackson Stargell
                   _______________________________________________________                                    Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




                                                                    Description and value of any property transferred                Date payment or        Amount of
                                                                                                                                     transfer was made      payment

            PreBk.com
            ____________________________________                  Credit Counseling
            Person Who Was Paid
                                                                                                                                     01/03/17
                                                                                                                                     _________              14.95
                                                                                                                                                           $_____________
            ____________________________________
            Number       Street

                                                                                                                                     _________             $_____________
            ____________________________________

            ____________________________________
            City                        State    ZIP Code



            ________________________________________________
            Email or website address

            ___________________________________
            Person Who Made the Payment, if Not You


 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.

     
     X     No
          Yes. Fill in the details.

                                                                    Description and value of any property transferred                Date payment or       Amount of payment
                                                                                                                                     transfer was made
            ____________________________________
            Person Who Was Paid
                                                                                                                                     _________             $____________
            ____________________________________
            Number        Street

            ____________________________________                                                                                     _________             $____________

            ____________________________________
            City                        State    ZIP Code

 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement.
     
     X
           No
          Yes. Fill in the details.

                                                                    Description and value of property         Describe any property or payments received      Date transfer
                                                                    transferred                               or debts paid in exchange                       was made
            ___________________________________
            Person Who Received Transfer

            ___________________________________                                                                                                               _________
            Number       Street

            ___________________________________

            ___________________________________
            City                        State    ZIP Code


            Person’s relationship to you _____________

            ___________________________________
            Person Who Received Transfer
                                                                                                                                                              _________
            ___________________________________
            Number       Street

            ___________________________________

            ___________________________________
            City                        State    ZIP Code

            Person’s relationship to you _____________

Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 8
              Case 17-50323-jrs                     Doc 1               Filed 01/05/17 Entered 01/05/17 12:45:06                              Desc Main
                                                                        Document Page 16 of 80
Debtor 1           Kristie Jackson Stargell
                   _______________________________________________________                                   Case number (if known)_____________________________________
                   First Name     Middle Name              Last Name




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

     
     X
           No
          Yes. Fill in the details.

                                                                   Description and value of the property transferred                                       Date transfer
                                                                                                                                                           was made


                                                                                                                                                           _________
           Name of trust __________________________


           ______________________________________




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
     closed, sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
     brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
     X
           No
          Yes. Fill in the details.

                                                                   Last 4 digits of account number      Type of account or       Date account was       Last balance before
                                                                                                        instrument               closed, sold, moved,   closing or transfer
                                                                                                                                 or transferred
            ____________________________________
            Name of Financial Institution
                                                                       XXXX–___ ___ ___ ___             Checking               _________              $___________
            ____________________________________
            Number       Street
                                                                                                         Savings
            ____________________________________                                                         Money market
            ____________________________________
                                                                                                         Brokerage
            City                       State    ZIP Code                                                 Other__________

            ____________________________________                       XXXX–___ ___ ___ ___             Checking               _________              $___________
            Name of Financial Institution
                                                                                                         Savings
            ____________________________________
            Number       Street                                                                          Money market
            ____________________________________                                                         Brokerage
            ____________________________________                                                         Other__________
            City                       State    ZIP Code


 21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
     securities, cash, or other valuables?
     X
           No
          Yes. Fill in the details.
                                                                       Who else had access to it?                  Describe the contents                       Do you still
                                                                                                                                                               have it?

                                                                                                                                                                  No
            ____________________________________
            Name of Financial Institution
                                                                  _______________________________________
                                                                  Name
                                                                                                                                                                  Yes

            ____________________________________                  _______________________________________                                                      
            Number       Street                                   Number      Street
            ____________________________________
                                                                  _______________________________________
                                                                  City          State      ZIP Code
            ____________________________________
            City                       State    ZIP Code



Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 9
                  Case 17-50323-jrs                      Doc 1               Filed 01/05/17 Entered 01/05/17 12:45:06                                      Desc Main
                                                                             Document Page 17 of 80
Debtor 1              Kristie Jackson Stargell
                      _______________________________________________________                                              Case number (if known)_____________________________________
                      First Name      Middle Name               Last Name




22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
    X
             No
            Yes. Fill in the details.
                                                                       Who else has or had access to it?                        Describe the contents                       Do you still
                                                                                                                                                                            have it?


               ___________________________________                     _______________________________________                                                                No
               Name of Storage Facility                                Name                                                                                                   Yes
               ___________________________________                     _______________________________________                                                               
               Number       Street                                     Number    Street

               ___________________________________                     _______________________________________
                                                                       City State ZIP Code
               ___________________________________
               City                        State     ZIP Code



 Part 9:                Identify Property You Hold or Control for Someone Else

 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
     or hold in trust for someone.
        X
             No
            Yes. Fill in the details.
                                                                      Where is the property?                                    Describe the property                    Value


               ___________________________________
               Owner’s Name                                                                                                                                              $__________
                                                                     _________________________________________
               ___________________________________                   Number     Street
               Number        Street
                                                                     _________________________________________
               ___________________________________
                                                                     _________________________________________
               ___________________________________                   City                             State     ZIP Code
               City                        State     ZIP Code


 Part 10:               Give Details About Environmental Information

 For the purpose of Part 10, the following definitions apply:
  Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
     hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
     including statutes or regulations controlling the cleanup of these substances, wastes, or material.

  Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
     it or used to own, operate, or utilize it, including disposal sites.

  Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
     substance, hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?


        X
             No
            Yes. Fill in the details.
                                                                       Governmental unit                            Environmental law, if you know it                   Date of notice



              ____________________________________                    _______________________________                                                                    _________
              Name of site                                            Governmental unit

              ____________________________________                    _______________________________
              Number       Street                                     Number    Street

                                                                      _______________________________
              ____________________________________                    City                   State   ZIP Code


              ____________________________________
              City                        State     ZIP Code



Official Form 107                                       Statement of Financial Affairs for Individuals Filing for Bankruptcy                                               page 10
             Case 17-50323-jrs                      Doc 1                Filed 01/05/17 Entered 01/05/17 12:45:06                                         Desc Main
                                                                         Document Page 18 of 80
Debtor 1           Kristie Jackson Stargell
                   _______________________________________________________                                              Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




 25. Have you notified any governmental unit of any release of hazardous material?

     X
           No
          Yes. Fill in the details.
                                                                   Governmental unit                               Environmental law, if you know it                    Date of notice


            ____________________________________                  _______________________________
            Name of site                                          Governmental unit
                                                                                                                                                                         _________

            ____________________________________                  _______________________________
            Number        Street                                  Number     Street


            ____________________________________                  _______________________________
                                                                  City                  State    ZIP Code
            ____________________________________
            City                        State    ZIP Code


 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     X
           No
          Yes. Fill in the details.
                                                                                                                                                                         Status of the
                                                                    Court or agency                                     Nature of the case
                                                                                                                                                                         case

           Case title______________________________
                                                                    ________________________________
                                                                    Court Name
                                                                                                                                                                          Pending
           ______________________________________
                                                                                                                                                                          On appeal
                                                                    ________________________________
                                                                    Number     Street                                                                                    Concluded

           ______________________________________
           Case number                                              ________________________________
                                                                    City                        State   ZIP Code
                                                                                                                                                                         

 Part 11:            Give Details About Your Business or Connections to Any Business

 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
               A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
               A member of a limited liability company (LLC) or limited liability partnership (LLP)
               A partner in a partnership
               An officer, director, or managing executive of a corporation
               An owner of at least 5% of the voting or equity securities of a corporation

     X
           No. None of the above applies. Go to Part 12.
          Yes. Check all that apply above and fill in the details below for each business.
                                                                    Describe the nature of the business                                Employer Identification number
            ____________________________________                                                                                       Do not include Social Security number or ITIN.
            Business Name


            ____________________________________
                                                                                                                                       EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                    Name of accountant or bookkeeper                                   Dates business existed
            ____________________________________

                                                                                                                                       From     _______ To _______
            ____________________________________
            City                        State    ZIP Code

                                                                    Describe the nature of the business                                Employer Identification number
            ____________________________________                                                                                       Do not include Social Security number or ITIN.
            Business Name


            ____________________________________                                                                                       EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                    Name of accountant or bookkeeper                                   Dates business existed
            ____________________________________

                                                                                                                                       From     _______ To _______
            ____________________________________
            City                        State    ZIP Code


Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                    page 11
             Case 17-50323-jrs                      Doc 1               Filed 01/05/17 Entered 01/05/17 12:45:06                               Desc Main
                                                                        Document Page 19 of 80
Debtor 1           Kristie Jackson Stargell
                   _______________________________________________________                                    Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




                                                                                                                            Employer Identification number
                                                                    Describe the nature of the business
                                                                                                                            Do not include Social Security number or ITIN.
            ____________________________________
            Business Name
                                                                                                                            EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            ____________________________________
            Number        Street
                                                                    Name of accountant or bookkeeper                        Dates business existed

            ____________________________________

            ____________________________________                                                                            From     _______ To _______
            City                        State    ZIP Code




 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     institutions, creditors, or other parties.

     
     X
           No
          Yes. Fill in the details below.

                                                                    Date issued



            ____________________________________                    ____________
            Name                                                    MM / DD / YYYY


            ____________________________________
            Number        Street


            ____________________________________

            ____________________________________
            City                        State    ZIP Code




 Part 12:          Sign Below


      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.




            /s/Kristie Jackson Stargell
            ______________________________________________                        _____________________________
            Signature of Debtor 1                                                    Signature of Debtor 2


                  5 January 2017
            Date ________________                                                    Date _________________

      Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

      
      X      No
            Yes


      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
      
      X     No
           Yes. Name of person_____________________________________________________________. Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                               Declaration, and Signature (Official Form 119).




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 12
                 Case 17-50323-jrs                Doc 1         Filed 01/05/17 Entered 01/05/17 12:45:06                           Desc Main
                                                                Document Page 20 of 80
Fill in this information to identify your case and this filing:


Debtor 1          Kristie            Jackson              Stargell
                  __________________________________________________________________
                    First Name               Middle Name                Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name               Middle Name                Last Name


                                        Northern District of Georgia
United States Bankruptcy Court for the: ______________________________________

Case number         ___________________________________________
                                                                                                                                         Check if this is an
                                                                                                                                             amended filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                  12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
    
    X
         Yes. Where is the property?
                                                                 What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                 
                                                                 X
                                                                      Single-family home                           the amount of any secured claims on Schedule D:
            217 Saint Michaels Lane SE
      1.1. _________________________________________                 Duplex or multi-unit building
                                                                                                                   Creditors Who Have Claims Secured by Property.
           Street address, if available, or other description
                                                                     Condominium or cooperative                   Current value of the     Current value of the
                                                                     Manufactured or mobile home                  entire property?         portion you own?
             _________________________________________
                                                                     Land                                          301,831.00
                                                                                                                   $________________         301,831.00
                                                                                                                                            $_______________
                                                                     Investment property
              Mableton       GA              30126
             _________________________________________
             City                    State    ZIP Code
                                                                     Timeshare                                    Describe the nature of your ownership
                                                                                                                   interest (such as fee simple, tenancy by
                                                                     Other __________________________________     the entireties, or a life estate), if known.
                                                                 Who has an interest in the property? Check one.
                                                                                                                    Fee Simple Ownership
                                                                                                                   __________________________________________
              Cobb                                               
                                                                 X Debtor 1 only
             _________________________________________
             County                                              Debtor 2 only
                                                                 Debtor 1 and Debtor 2 only                       Check if this is community property
                                                                                                                       (see instructions)
                                                                 At least one of the debtors and another
                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number: _______________________________
    If you own or have more than one, list here:
                                                                What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put
                                                                    Single-family home                            the amount of any secured claims on Schedule D:
                                                                                                                   Creditors Who Have Claims Secured by Property.
      1.2. ________________________________________
           Street address, if available, or other description
                                                                    Duplex or multi-unit building
                                                                   Condominium or cooperative                     Current value of the     Current value of the
                                                                    Manufactured or mobile home                   entire property?         portion you own?
             ________________________________________
                                                                    Land                                          $________________        $_________________
                                                                    Investment property
             ________________________________________
             City                    State   ZIP Code
                                                                    Timeshare
                                                                                                                   Describe the nature of your ownership
                                                                                                                   interest (such as fee simple, tenancy by
                                                                    Other __________________________________      the entireties, or a life estate), if known.
                                                                Who has an interest in the property? Check one.    __________________________________________

                                                                
                                                                 Debtor 1 only
             ________________________________________
             County                                             
                                                                 Debtor 2 only
                                                                
                                                                 Debtor 1 and Debtor 2 only                         Check if this is community property
                                                                
                                                                 At least one of the debtors and another               (see instructions)

                                                                Other information you wish to add about this item, such as local
                                                                property identification number: _______________________________


   Official Form 106A/B                                         Schedule A/B: Property                                                              page 1
             Case 17-50323-jrs                  Doc 1            Filed 01/05/17 Entered 01/05/17 12:45:06 Desc Main
Debtor 1       Kristie      Jackson          Stargell            Document Page 21 of Case
               _______________________________________________________                 80 number (if known)_____________________________________
               First Name       Middle Name          Last Name




                                                                 What is the property? Check all that apply.              Do not deduct secured claims or exemptions. Put

    1.3. ________________________________________
                                                                    Single-family home                                   the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
         Street address, if available, or other description         Duplex or multi-unit building
                                                                    Condominium or cooperative                           Current value of the      Current value of the
                                                                                                                          entire property?          portion you own?
           ________________________________________                 Manufactured or mobile home
                                                                    Land                                                 $________________         $_________________

           ________________________________________                 Investment property
           City                    State   ZIP Code                 Timeshare
                                                                                                                          Describe the nature of your ownership
                                                                                                                          interest (such as fee simple, tenancy by
                                                                    Other __________________________________             the entireties, or a life estate), if known.
                                                                                                                         __________________________________________
                                                                 Who has an interest in the property? Check one.
           ________________________________________              
                                                                  Debtor 1 only
           County
                                                                 
                                                                  Debtor 2 only
                                                                 
                                                                  Debtor 1 and Debtor 2 only                               Check if this is community property
                                                                 
                                                                  At least one of the debtors and another
                                                                                                                              (see instructions)

                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number: _______________________________


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                  301,831.00
                                                                                                                                                    $_________________
   you have attached for Part 1. Write that number here. ...................................................................................... 




Part 2:     Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   No
   
   X Yes




           Make:                      See
                                      ______________             Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
   3.1.

           Model:                     GLK350
                                      ______________             
                                                                 X Debtor 1 only
                                                                                                                          the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
                                      2010
                                                                 Debtor 2 only
           Year:                      ____________
                                                                 Debtor 1 and Debtor 2 only                             Current value of the      Current value of the
                                73250                                                                                     entire property?          portion you own?
           Approximate mileage: ____________                     At least one of the debtors and another
           Other information:
                                                                  Check if this is community property (see                12,625.00
                                                                                                                          $________________          12,625.00
                                                                                                                                                    $________________
                                                                     instructions)



   If you own or have more than one, describe here:

           Make:                       Lexus
                                      ______________             Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
   3.2.

           Model:                      RX 330
                                      ______________             
                                                                 X
                                                                   Debtor 1 only
                                                                                                                          the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
                                       2004
                                                                 Debtor 2 only
           Year:                      ____________
                                                                 Debtor 1 and Debtor 2 only
                                                                                                                          Current value of the
                                                                                                                          entire property?
                                                                                                                                                    Current value of the
                                                                                                                                                    portion you own?
                                 284675
           Approximate mileage: ____________                     At least one of the debtors and another
           Other information:
                                                                                                                           7,600.00                   7,600.00
                                                                  Check if this is community property (see               $________________         $________________
                                                                     instructions)




Official Form 106A/B                                              Schedule A/B: Property                                                                   page 2
               Case 17-50323-jrs                            Doc 1            Filed 01/05/17 Entered 01/05/17 12:45:06 Desc Main
Debtor 1           Kristie      Jackson          Stargell
                   _______________________________________________________   Document Page 22 of Case
                                                                                                   80 number (if known)_____________________________________
                   First Name         Middle Name                Last Name




            Make:                            ______________                   Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   3.3.

            Model:                           ______________                   
                                                                               Debtor 1 only
                                                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                              
                                                                               Debtor 2 only
            Year:                            ____________
                                                                              
                                                                               Debtor 1 and Debtor 2 only                                                Current value of the             Current value of the
                                                                                                                                                         entire property?                 portion you own?
            Approximate mileage: ____________                                 
                                                                               At least one of the debtors and another
            Other information:
                                                                               Check if this is community property (see                                 $________________                $________________
                                                                                   instructions)


            Make:                            ______________                   Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   3.4.

            Model:                           ______________                   
                                                                               Debtor 1 only
                                                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                              
                                                                               Debtor 2 only
            Year:                            ____________
                                                                              
                                                                               Debtor 1 and Debtor 2 only                                                Current value of the             Current value of the
                                                                                                                                                         entire property?                 portion you own?
            Approximate mileage: ____________                                 
                                                                               At least one of the debtors and another
            Other information:
                                                                               Check if this is community property (see                                 $________________                $________________
                                                                                   instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   
   X No
    Yes

            Make:       ____________________                                  Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.1.

            Model: ____________________                                       
                                                                               Debtor 1 only
                                                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                              
                                                                               Debtor 2 only
            Year:       ____________
                                                                              
                                                                               Debtor 1 and Debtor 2 only                                                Current value of the             Current value of the
            Other information:                                                
                                                                               At least one of the debtors and another                                   entire property?                 portion you own?

                                                                               Check if this is community property (see                                 $________________                $________________
                                                                                  instructions)



   If you own or have more than one, list here:

            Make:       ____________________                                  Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.2.

            Model: ____________________                                       
                                                                               Debtor 1 only
                                                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                              
                                                                               Debtor 2 only
            Year:       ____________                                                                                                                     Current value of the             Current value of the
                                                                              
                                                                               Debtor 1 and Debtor 2 only
                                                                                                                                                         entire property?                 portion you own?
            Other information:                                                
                                                                               At least one of the debtors and another

                                                                                                                                                         $________________                $________________
                                                                               Check if this is community property (see
                                                                                  instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                                                       20,225.00
                                                                                                                                                                                         $_________________
   you have attached for Part 2. Write that number here ............................................................................................................................ 




Official Form 106A/B                                                           Schedule A/B: Property                                                                                           page 3
                Case 17-50323-jrs                                Doc 1              Filed 01/05/17 Entered 01/05/17 12:45:06 Desc Main
Debtor 1            Kristie      Jackson          Stargell
                    _______________________________________________________         Document Page 23 of Case
                                                                                                          80 number (if known)_____________________________________
                    First Name            Middle Name                  Last Name




Part 3:        Describe Your Personal and Household Items

                                                                                                                                                                                                   Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                                                  portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.

6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
       No
   
   X
        Yes. Describe. ........          All HHG                                                                                                                                                     3,000.00
                                                                                                                                                                                                    $___________________

7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games
       No
   
   X    Yes. Describe. ......... All           electronics                                                                                                                                           1,000.00
                                                                                                                                                                                                    $___________________

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
    No
   X Yes. Describe. ......... All collectibles
                                                                                                                                                                                                      100.00
                                                                                                                                                                                                    $___________________

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
   
   X    No
       Yes. Describe. .........                                                                                                                                                                    $___________________

10. Firearms
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment
   X No

    Yes. Describe. ..........                                                                                                                                                                      $___________________

11. Clothes
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
       No
                               All            clothing
   X    Yes. Describe. ..........                                                                                                                                                                    200.00
                                                                                                                                                                                                    $___________________


12. Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
       No
   
   X    Yes. Describe. ..........All           jewelry                                                                                                                                                500.00
                                                                                                                                                                                                    $___________________

13. Non-farm animals
   Examples: Dogs, cats, birds, horses

   
   X    No
       Yes. Describe. ............                                                                                                                                                                 $___________________

14. Any other personal and household items you did not already list, including any health aids you did not list

   
   X
        No
       Yes. Give specific
                                                                                                                                                                                                    $___________________
        information..................

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                                                                       4,800.00
                                                                                                                                                                                                    $______________________
   for Part 3. Write that number here ........................................................................................................................................................ 



Official Form 106A/B                                                                   Schedule A/B: Property                                                                                                   page 4
                Case 17-50323-jrs                                      Doc 1                 Filed 01/05/17 Entered 01/05/17 12:45:06 Desc Main
Debtor 1             Kristie     Jackson          Stargell
                    _______________________________________________________                  Document Page 24 of Case
                                                                                                                   80 number (if known)_____________________________________
                    First Name              Middle Name                       Last Name




Part 4:       Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following?                                                                                                                                          Current value of the
                                                                                                                                                                                                                     portion you own?
                                                                                                                                                                                                                     Do not deduct secured claims
                                                                                                                                                                                                                     or exemptions.


16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition


 X     No
     Yes .....................................................................................................................................................................    Cash: .......................    $__________________



17. Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution, list each.
      No
   
   X   Yes .....................                                                                  Institution name:


                                             17.1. Checking account:                              Bank of America
                                                                                                  _________________________________________________________                                                            100.00
                                                                                                                                                                                                                      $__________________

                                             17.2. Checking account:                              _________________________________________________________                                                           $__________________

                                             17.3. Savings account:                               Bank of America
                                                                                                  _________________________________________________________                                                            20.00
                                                                                                                                                                                                                      $__________________

                                             17.4. Savings account:                               Pinnacle CU
                                                                                                  _________________________________________________________                                                            25.00
                                                                                                                                                                                                                      $__________________

                                             17.5. Certificates of deposit:                       _________________________________________________________                                                           $__________________

                                             17.6. Other financial account:                       _________________________________________________________                                                           $__________________

                                             17.7. Other financial account:                       _________________________________________________________                                                           $__________________

                                             17.8. Other financial account:                       _________________________________________________________                                                           $__________________

                                             17.9. Other financial account:                       _________________________________________________________                                                           $__________________




18. Bonds, mutual funds, or publicly traded stocks
  Examples: Bond funds, investment accounts with brokerage firms, money market accounts

 X     No
     Yes ..................                Institution or issuer name:

                                             _________________________________________________________________________________________                                                                                $__________________
                                             _________________________________________________________________________________________                                                                                $__________________
                                             _________________________________________________________________________________________                                                                                $__________________




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
   an LLC, partnership, and joint venture

   
   X No                                      Name of entity:                                                                                                                         % of ownership:
   Yes. Give specific                      _____________________________________________________________________                                                                   ___________%                     $__________________
       information about
       them. ........................        _____________________________________________________________________                                                                   ___________%                     $__________________
                                             _____________________________________________________________________                                                                   ___________%                     $__________________




Official Form 106A/B                                                                            Schedule A/B: Property                                                                                                            page 5
               Case 17-50323-jrs                             Doc 1          Filed 01/05/17 Entered 01/05/17 12:45:06 Desc Main
Debtor 1            Kristie     Jackson          Stargell
                   _______________________________________________________  Document Page 25 of Case
                                                                                                  80 number (if known)_____________________________________
                   First Name            Middle Name            Last Name




20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.


 X No

 Yes. Give specific                    Issuer name:
       information about
       them. ......................      ______________________________________________________________________________________           $__________________
                                         ______________________________________________________________________________________
                                                                                                                                          $__________________
                                         ______________________________________________________________________________________           $__________________


21. Retirement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
   
   X   No
      Yes. List each
       account separately. . Type of account:                      Institution name:

                                         401(k) or similar plan:   ___________________________________________________________________    $__________________

                                         Pension plan:             ___________________________________________________________________    $__________________

                                         IRA:                      ___________________________________________________________________    $__________________

                                         Retirement account:       ___________________________________________________________________    $__________________

                                         Keogh:                    ___________________________________________________________________    $__________________

                                         Additional account:       ___________________________________________________________________    $__________________

                                         Additional account:       ___________________________________________________________________    $__________________



22. Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
   companies, or others

   
   X   No
      Yes ...........................                         Institution name or individual:

                                         Electric:             ______________________________________________________________________     $___________________
                                         Gas:                  ______________________________________________________________________     $___________________
                                         Heating oil:          ______________________________________________________________________
                                                                                                                                          $___________________
                                         Security deposit on rental unit: _____________________________________________________________
                                                                                                                                          $___________________
                                         Prepaid rent:         ______________________________________________________________________
                                                                                                                                          $___________________
                                         Telephone:            ______________________________________________________________________
                                                                                                                                          $___________________
                                         Water:                ______________________________________________________________________
                                                                                                                                          $___________________
                                         Rented furniture:     ______________________________________________________________________
                                                                                                                                          $___________________
                                         Other:                ______________________________________________________________________
                                                                                                                                          $___________________


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

   
   X   No
      Yes ...........................   Issuer name and description:
                                          _______________________________________________________________________________________         $__________________
                                         _______________________________________________________________________________________          $__________________
                                         _______________________________________________________________________________________          $__________________


Official Form 106A/B                                                         Schedule A/B: Property                                                page 6
               Case 17-50323-jrs                            Doc 1           Filed 01/05/17 Entered 01/05/17 12:45:06 Desc Main
Debtor 1           Kristie      Jackson          Stargell
                   _______________________________________________________  Document Page 26 of Case
                                                                                                  80 number (if known)_____________________________________
                   First Name             Middle Name           Last Name




24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
   
   X   No
      Yes .....................................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

                                                   ____________________________________________________________________________________                 $_________________
                                                   ____________________________________________________________________________________                 $_________________
                                                   ____________________________________________________________________________________                 $_________________


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit

   
   X   No
      Yes. Give specific
       information about them. ..                                                                                                                       $__________________


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   
   X   No
      Yes. Give specific
       information about them. ..                                                                                                                       $__________________


27. Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

   
   X   No
      Yes. Give specific
       information about them. ..                                                                                                                       $__________________


Money or property owed to you?                                                                                                                          Current value of the
                                                                                                                                                        portion you own?
                                                                                                                                                        Do not deduct secured
                                                                                                                                                        claims or exemptions.

28. Tax refunds owed to you

   
   X
       No
      Yes. Give specific information                                                                                         Federal:              $_________________
            about them, including whether
            you already filed the returns                                                                                     State:                $_________________
            and the tax years. ......................
                                                                                                                              Local:                $_________________


29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
      No
   
   X   Yes. Give specific information. .............          Past due child support
                                                                                                                             Alimony:                    0.00
                                                                                                                                                        $________________
                                                                                                                             Maintenance:                0.00
                                                                                                                                                        $________________
                                                                                                                             Support:                    9,034.39
                                                                                                                                                        $________________
                                                                                                                             Divorce settlement:         0.00
                                                                                                                                                        $________________
                                                                                                                             Property settlement:        0.00
                                                                                                                                                        $________________

30. Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
             Social Security benefits; unpaid loans you made to someone else
   
   X   No
      Yes. Give specific information. ...............
                                                                                                                                                        $______________________



Official Form 106A/B                                                         Schedule A/B: Property                                                               page 7
                Case 17-50323-jrs                                Doc 1              Filed 01/05/17 Entered 01/05/17 12:45:06 Desc Main
Debtor 1            Kristie      Jackson          Stargell
                    _______________________________________________________         Document Page 27 of Case
                                                                                                          80 number (if known)_____________________________________
                    First Name            Middle Name                  Last Name




31. Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
   
   X    No
       Yes. Name the insurance company              Company name:                                                                               Beneficiary:                                        Surrender or refund value:
             of each policy and list its value. ....
                                                                      ___________________________________________ ____________________________                                                       $__________________
                                                                      ___________________________________________ ____________________________                                                       $__________________
                                                                      ___________________________________________ ____________________________                                                       $__________________

32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
   property because someone has died.
   
   X    No
       Yes. Give specific information. .............
                                                                                                                                                                                                     $_____________________


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
   
   X    No
       Yes. Describe each claim. .....................
                                                                                                                                                                                                     $______________________

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
   to set off claims
   
   X    No
       Yes. Describe each claim. .....................
                                                                                                                                                                                                     $_____________________




35. Any financial assets you did not already list

   
   X
        No
       Yes. Give specific information. ...........
                                                                                                                                                                                                     $_____________________



36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
   for Part 4. Write that number here ........................................................................................................................................................       9,179.39
                                                                                                                                                                                                     $_____________________




Part 5:          Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

   
   X
        No. Go to Part 6.
       Yes. Go to line 38.
                                                                                                                                                                                                   Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.

38. Accounts receivable or commissions you already earned


 X      No
       Yes. Describe ........
                                                                                                                                                                                                   $_____________________

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

   
   X
        No
       Yes. Describe ........                                                                                                                                                                     $_____________________



Official Form 106A/B                                                                   Schedule A/B: Property                                                                                                   page 8
                Case 17-50323-jrs                                Doc 1              Filed 01/05/17 Entered 01/05/17 12:45:06 Desc Main
Debtor 1             Kristie     Jackson          Stargell
                    _______________________________________________________         Document Page 28 of Case
                                                                                                          80 number (if known)_____________________________________
                    First Name             Middle Name                 Last Name




40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

   
   X    No
       Yes. Describe ........
                                                                                                                                                                                                   $_____________________


41. Inventory
   
   X    No
       Yes. Describe ........                                                                                                                                                                     $_____________________


42. Interests in partnerships or joint ventures

   
   X    No
       Yes. Describe ........ Name of entity:                                                                                                                        % of ownership:
                                          ______________________________________________________________________                                                      ________%                    $_____________________
                                          ______________________________________________________________________                                                      ________%                    $_____________________
                                          ______________________________________________________________________                                                      ________%                    $_____________________

43. Customer lists, mailing lists, or other compilations
 
 X      No
      Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                
                X
                      No
                     Yes. Describe.........
                                                                                                                                                                                                   $____________________


44. Any business-related property you did not already list
   
   X    No
       Yes. Give specific
                              ______________________________________________________________________________________                                                                               $____________________
        information .........
                                          ______________________________________________________________________________________                                                                    $____________________
                                         ______________________________________________________________________________________                                                                    $____________________
                                         ______________________________________________________________________________________                                                                    $____________________
                                         ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached                                                                                      0.00
                                                                                                                                                                                                   $____________________
   for Part 5. Write that number here ........................................................................................................................................................ 




Part 6:          Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                 If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
   
   X
     No. Go to Part 7.
    Yes. Go to line 47.
                                                                                                                                                                                                 Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish
   
   X    No
       Yes ...........................

                                                                                                                                                                                                     $___________________



Official Form 106A/B                                                                   Schedule A/B: Property                                                                                                   page 9
                   Case 17-50323-jrs                                  Doc 1               Filed 01/05/17 Entered 01/05/17 12:45:06 Desc Main
 Debtor 1               Kristie     Jackson          Stargell
                       _______________________________________________________            Document Page 29 of Case
                                                                                                                80 number (if known)_____________________________________
                       First Name             Middle Name                   Last Name




48. Crops—either growing or harvested

     
     X     No
          Yes. Give specific
           information. ............                                                                                                                                                                            $___________________

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
     
     X     No
          Yes ...........................
                                                                                                                                                                                                                $___________________

50. Farm and fishing supplies, chemicals, and feed

     
     X     No
          Yes ...........................
                                                                                                                                                                                                                $___________________

51. Any farm- and commercial fishing-related property you did not already list

 X         No
          Yes. Give specific
           information. ............                                                                                                                                                                            $___________________

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
                                                                                                                                                                                                                 0.00
                                                                                                                                                                                                                $___________________
     for Part 6. Write that number here ........................................................................................................................................................ 



Part 7:             Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

     
     X     No
                                                                                                                                                                                                                 $________________
          Yes. Give specific
           information. ............                                                                                                                                                                              $________________
                                                                                                                                                                                                                  $________________


54. Add the dollar value of all of your entries from Part 7. Write that number here ...................................................................                                                          $________________




Part 8:             List the Totals of Each Part of this Form


55. Part 1: Total real estate, line 2 ....................................................................................................................................................................      301,831.00
                                                                                                                                                                                                                $________________

56. Part 2: Total vehicles, line 5                                                                                    20,225.00
                                                                                                                     $________________

57. Part 3: Total personal and household items, line 15                                                               4,800.00
                                                                                                                     $________________

58. Part 4: Total financial assets, line 36                                                                           9,179.39
                                                                                                                     $________________

59. Part 5: Total business-related property, line 45                                                                  0.00
                                                                                                                     $________________

60. Part 6: Total farm- and fishing-related property, line 52                                                         0.00
                                                                                                                     $________________

61. Part 7: Total other property not listed, line 54                                                             + $________________
                                                                                                                    0.00

62. Total personal property. Add lines 56 through 61. ...................                                             34,204.39
                                                                                                                     $________________ Copy personal property total                                           + $_________________
                                                                                                                                                                                                                  34,204.39


63. Total of all property on Schedule A/B. Add line 55 + line 62. .......................................................................................                                                        336,035.39
                                                                                                                                                                                                                $_________________



 Official Form 106A/B                                                                        Schedule A/B: Property                                                                                                      page 10
Case 17-50323-jrs   Doc 1   Filed 01/05/17 Entered 01/05/17 12:45:06   Desc Main
                            Document Page 30 of 80



                                 Attachment
               Debtor: Kristie Jackson Stargell        Case No:

Attachment 1
        Mercedes-Benz
               Case 17-50323-jrs                Doc 1         Filed 01/05/17 Entered 01/05/17 12:45:06                                 Desc Main
                                                              Document Page 31 of 80
 Fill in this information to identify your case:

 Debtor 1          Kristie              Jackson             Stargell
                   __________________________________________________________________
                     First Name               Middle Name               Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name               Middle Name               Last Name


                                         Northern  District
                                          __________ District ofof Georgia
 United States Bankruptcy Court for the: _____________________________________________
                                                                 __________

 Case number
  (If known)
                     ___________________________________________                                                                             Check if this is an
                                                                                                                                                amended filing



Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                              04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Part 1:         Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
     
     X You are claiming state and federal nonbankruptcy exemptions.                 11 U.S.C. § 522(b)(3)
      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on        Current value of the        Amount of the exemption you claim        Specific laws that allow exemption
       Schedule A/B that lists this property                portion you own
                                                            Copy the value from         Check only one box for each exemption.
                                                            Schedule A/B

      Brief                                                                                                                      Ga. Code Ann. § 44-13-100(a)(1)
                                                                                                                                 ____________________________
      description:
                             Residence
                             _________________________       301,831.00
                                                            $________________            
                                                                                         X   21,500.00
                                                                                           $ ____________                        ____________________________
      Line from                                                                           100% of fair market value, up to      ____________________________
                    1.1
      Schedule A/B: ______                                                                  any applicable statutory limit      ____________________________


      Brief                                                                                                                      Ga. Code Ann. § 44-13-100(a)(6)
                                                                                                                                 ____________________________
      description:
                             Checking
                             _________________________       100.00
                                                            $________________            
                                                                                         X   100.00
                                                                                           $ ____________                        ____________________________
      Line from     17.1
                                                                                          100% of fair market value, up to      ____________________________
                    ______                                                                  any applicable statutory limit       ____________________________
      Schedule A/B:

      Brief                                                                                                                      Ga. Code Ann. § 44-13-100(a)(6)
                                                                                                                                 ____________________________
      description:
                             Savings
                             _________________________        20.00
                                                            $________________            
                                                                                         X    20.00
                                                                                           $ ____________                        ____________________________
      Line from                                                                           100% of fair market value, up to      ____________________________
                    17.3
      Schedule A/B: ______                                                                  any applicable statutory limit       ____________________________


 3. Are you claiming a homestead exemption of more than $160,375?
     (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

     
     X     No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes



Official Form 106C                                          Schedule C: The Property You Claim as Exempt                                                       2
                                                                                                                                                     page 1 of __
           Case 17-50323-jrs                 Doc 1 Filed 01/05/17 Entered 01/05/17 12:45:06 Desc Main
Debtor 1     Kristie Jackson Stargell              Document
             _______________________________________________________
                                                                     Page 32 of Case
                                                                                80 number (if known)_____________________________________
             First Name        Middle Name      Last Name




 Part 2:    Additional Page

      Brief description of the property and line        Current value of the   Amount of the exemption you claim       Specific laws that allow exemption
      on Schedule A/B that lists this property          portion you own
                                                        Copy the value from    Check only one box for each exemption
                                                        Schedule A/B

     Brief                                                                                                             Ga. Code Ann. § 44-13-100(a)(6)
                                                                                                                       ____________________________
     description:
                          Savings
                          _________________________      25.00
                                                        $________________         25.00
                                                                               X $ ____________
                                                                                                                       ____________________________
     Line from     17.4
                   ______
                                                                                100% of fair market value, up to      ____________________________
     Schedule A/B:                                                                any applicable statutory limit      ____________________________

     Brief                                                                                                             Ga. Code Ann. § 44-13-100(a)(4)
                                                                                                                       ____________________________
     description:
                          All HHG
                          _________________________      3,000.00
                                                        $________________      
                                                                               X   3,000.00
                                                                                 $ ____________                        ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                   6
                   ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                             Ga. Code Ann. § 44-13-100(a)(4)
                                                                                                                       ____________________________
     description:
                          All electronics
                          _________________________      1,000.00
                                                        $________________      
                                                                               X   1,000.00
                                                                                 $ ____________                        ____________________________
     Line from     7
                                                                                100% of fair market value, up to      ____________________________
                   ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                             Ga. Code Ann. § 44-13-100(a)(4)
                                                                                                                       ____________________________
     description:
                          All collectibles
                          _________________________      100.00
                                                        $________________      
                                                                               X   100.00
                                                                                 $ ____________                        ____________________________
     Line from     8
                   ______
                                                                                100% of fair market value, up to      ____________________________
     Schedule A/B:                                                                any applicable statutory limit      ____________________________

     Brief                                                                                                             Ga. Code Ann. § 44-13-100(a)(4)
                                                                                                                       ____________________________
     description:
                           All clothing
                          _________________________      200.00
                                                        $________________         200.00
                                                                               X $ ____________
                                                                                                                       ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                    11
                   ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                             Ga. Code Ann. § 44-13-100(a)(5)
                                                                                                                       ____________________________
     description:
                          Al jewelry
                          _________________________      500.00
                                                        $________________         500.00
                                                                               X $ ____________
                                                                                                                       ____________________________
     Line from      12
                                                                                100% of fair market value, up to      ____________________________
                   ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                             Ga. Code Ann. § 44-13-100(a)(3)
                                                                                                                       ____________________________
     description:
                          2004 Lexus RX 330 with
                          _________________________      7,600.00
                                                        $________________      
                                                                               X   5,000.00
                                                                                 $ ____________                        ____________________________
     Line from     3.1
                   ______
                                                                                100% of fair market value, up to      ____________________________
     Schedule A/B:                                                                any applicable statutory limit      ____________________________

     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                                                                                                                       ____________________________
     Schedule A/B: ______                                                         any applicable statutory limit


     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                   ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from     ______
                                                                                100% of fair market value, up to      ____________________________
     Schedule A/B:                                                                any applicable statutory limit      ____________________________

     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                                                                                                                       ____________________________
     Schedule A/B: ______                                                         any applicable statutory limit


     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                   ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:


Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                            2 of __
                                                                                                                                        page ___   2
                 Case 17-50323-jrs                      Doc 1          Filed 01/05/17 Entered 01/05/17 12:45:06                                       Desc Main
                                                                       Document Page 33 of 80
Fill in this information to identify your case:

Debtor 1          Kristie Jackson Stargell
                  __________________________________________________________________
                    First Name                   Middle Name                      Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name                   Middle Name                      Last Name


                                        Northern District of Georgia
United States Bankruptcy Court for the: ______________________________________

Case number         ___________________________________________
(If known)                                                                                                                                                  Check if this is an
                                                                                                                                                               amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
            No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
      X
             Yes. Fill in all of the information below.


Part 1:          List All Secured Claims
                                                                                                                              Column A               Column B              Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately                       Amount of claim        Value of collateral   Unsecured
      for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.                   Do not deduct the      that supports this    portion
      As much as possible, list the claims in alphabetical order according to the creditor’s name.                            value of collateral.   claim                 If any

2.1                                                            Describe the property that secures the claim:                    237,800.00
                                                                                                                              $_________________   301,831.00 $____________
                                                                                                                                                 $________________ 0.00
      Caliber Home Loans
      ______________________________________
      Creditor’s Name
                                                           Residence
      POB 650856
      ______________________________________
      Number            Street

                                                               As of the date you file, the claim is: Check all that apply.
      ______________________________________
                                                                  Contingent
      Dallas                TX See
      ______________________________________                      Unliquidated
      City                           State   ZIP Code             Disputed
   Who owes the debt? Check one.                               Nature of lien. Check all that apply.
   
   X
           Debtor 1 only                                       
                                                               X
                                                                   An agreement you made (such as mortgage or secured
          Debtor 2 only                                           car loan)
          Debtor 1 and Debtor 2 only                             Statutory lien (such as tax lien, mechanic’s lien)
          At least one of the debtors and another                Judgment lien from a lawsuit
                                                                  Other (including a right to offset) ____________________
     Check if this claim relates to a
      community debt
   Date debt was incurred ____________                         Last 4 digits of account number ___ ___ ___ ___
2.2                                                            Describe the property that secures the claim:                   18,000.00
                                                                                                                              $_________________   12,625.00
                                                                                                                                                 $________________   0.00
                                                                                                                                                                   $____________
      Capital One Auto Finance
      ______________________________________
      Creditor’s Name
                                                           2010 Mercedes-Benz GLK350 with
      POB 259407
      ______________________________________
      Number            Street

                                                               As of the date you file, the claim is: Check all that apply.
      ______________________________________
                                                                  Contingent
      Plano                 TX 75025
      ______________________________________                      Unliquidated
      City                           State   ZIP Code             Disputed
   Who owes the debt? Check one.                               Nature of lien. Check all that apply.
   
   X
           Debtor 1 only                                       
                                                               X   An agreement you made (such as mortgage or secured
          Debtor 2 only                                           car loan)
          Debtor 1 and Debtor 2 only                             Statutory lien (such as tax lien, mechanic’s lien)
          At least one of the debtors and another                Judgment lien from a lawsuit
                                                                  Other (including a right to offset) ____________________
     Check if this claim relates to a
      community debt
   Date debt was incurred ____________                         Last 4 digits of account number ___ ___ ___ ___
      Add the dollar value of your entries in Column A on this page. Write that number here:                                   255,800.00
                                                                                                                              $_________________


  Official Form 106D                              Schedule D: Creditors Who Have Claims Secured by Property                                                                 3
                                                                                                                                                                 page 1 of ___
                Case 17-50323-jrs                       Doc 1         Filed 01/05/17 Entered 01/05/17 12:45:06                                    Desc Main
                                                                      Document Page 34 of 80
Debtor 1           Kristie Jackson Stargell
                   _______________________________________________________                                      Case number (if known)_____________________________________
                   First Name      Middle Name            Last Name




                 Additional Page                                                                                           Column A               Column B              Column C
 Part 1:                                                                                                                   Amount of claim        Value of collateral   Unsecured
                 After listing any entries on this page, number them beginning with 2.3, followed                                                 that supports this    portion
                                                                                                                           Do not deduct the
                 by 2.4, and so forth.                                                                                     value of collateral.   claim                 If any
2.3                                                                                                                         1,800.00            7,600.00          0.00
       Pinnacle CU
       ______________________________________              Describe the property that secures the claim:                   $_________________ $________________ $____________
       Creditor’s Name

       536 North Aveneu NE
       ______________________________________             2004 Lexus RX 330 with
       Number            Street

       ______________________________________              As of the date you file, the claim is: Check all that apply.
       Atlanta               GA 30308
       ______________________________________                  Contingent
       City                   State ZIP Code                   Unliquidated
                                                               Disputed
      Who owes the debt? Check one.                        Nature of lien. Check all that apply.
      
      X
           Debtor 1 only                                   
                                                           X    An agreement you made (such as mortgage or secured
          Debtor 2 only                                        car loan)
          Debtor 1 and Debtor 2 only                          Statutory lien (such as tax lien, mechanic’s lien)
          At least one of the debtors and another             Judgment lien from a lawsuit
                                                               Other (including a right to offset) ____________________
          Check if this claim relates to a
           community debt

      Date debt was incurred ____________                  Last 4 digits of account number ___ ___ ___ ___

2.4                                                        Describe the property that secures the claim:                     412.00
                                                                                                                           $_________________   400.00
                                                                                                                                              $________________   0.00
                                                                                                                                                                $____________
        Rooms To Go
       ______________________________________
       Creditor’s Name

        1000 Macarthur Blvd
       ______________________________________
                                                          HHG
       Number            Street

                                                           As of the date you file, the claim is: Check all that apply.
       ______________________________________
                                                               Contingent
        Mahwah               NJ 07430
       ______________________________________                  Unliquidated
       City                          State   ZIP Code
                                                               Disputed
      Who owes the debt? Check one.
                                                           Nature of lien. Check all that apply.
      
      X
           Debtor 1 only
                                                           
                                                           X    An agreement you made (such as mortgage or secured
          Debtor 2 only                                        car loan)
          Debtor 1 and Debtor 2 only                          Statutory lien (such as tax lien, mechanic’s lien)
          At least one of the debtors and another             Judgment lien from a lawsuit

          Check if this claim relates to a
                                                               Other (including a right to offset) ____________________
           community debt

      Date debt was incurred ____________                  Last 4 digits of account number ___ ___ ___ ___

2.5                                                                                                                          2,100.00           2,100.00          0.00
       W. S. Badcock Corp.
       ______________________________________              Describe the property that secures the claim:                   $_________________ $________________ $____________
       Creditor’s Name

       POB 724
       ______________________________________
                                                          HHG
       Number            Street

       ______________________________________              As of the date you file, the claim is: Check all that apply.
       Mulberry              FL 33860
       ______________________________________                  Contingent
       City                          State   ZIP Code          Unliquidated
                                                               Disputed
      Who owes the debt? Check one.                        Nature of lien. Check all that apply.
      
      X
           Debtor 1 only                                   
                                                           X    An agreement you made (such as mortgage or secured
          Debtor 2 only                                        car loan)
          Debtor 1 and Debtor 2 only                          Statutory lien (such as tax lien, mechanic’s lien)
          At least one of the debtors and another             Judgment lien from a lawsuit
                                                               Other (including a right to offset) ____________________
          Check if this claim relates to a
           community debt
      Date debt was incurred ____________                                                   8 ___
                                                           Last 4 digits of account number ___ 0 ___
                                                                                                  2 ___
                                                                                                     7
              Add the dollar value of your entries in Column A on this page. Write that number here: $_________________
                                                                                                      4,312.00
              If this is the last page of your form, add the dollar value totals from all pages.
              Write that number here:
                                                                                                                            260,112.00
                                                                                                                           $_________________

  Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page ___   3
                                                                                                                                                                    2 of ___
            Case 17-50323-jrs                Doc 1          Filed 01/05/17 Entered 01/05/17 12:45:06                             Desc Main
                                                            Document Page 35 of 80
Debtor 1      Kristie Jackson Stargell
              _______________________________________________________                           Case number (if known)_____________________________________
              First Name     Middle Name        Last Name


  Part 2:      List Others to Be Notified for a Debt That You Already Listed

  Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
  agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
  you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to
  be notified for any debts in Part 1, do not fill out or submit this page.

                                                                                                                                                2.4
                                                                                           On which line in Part 1 did you enter the creditor? _____
      Rooms To Go
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      POB 960061
      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      Orlando                              FL             32896-0061
      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code



  Official Form 106D                       Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                               page ___   3
                                                                                                                                                   3 of ___
Case 17-50323-jrs    Doc 1   Filed 01/05/17 Entered 01/05/17 12:45:06   Desc Main
                             Document Page 36 of 80



                                 Attachment
               Debtor: Kristie Jackson Stargell         Case No:

Attachment 1
        75265-0856
                 Case 17-50323-jrs                     Doc 1        Filed 01/05/17 Entered 01/05/17 12:45:06                                    Desc Main
 Fill in this information to identify your case:                    Document Page 37 of 80

 Debtor 1              Kristie Jackson Stargell
                      __________________________________________________________________
                       First Name                    Middle Name             Last Name

 Debtor 2              ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name             Last Name


                                         Northern District of Georgia
 United States Bankruptcy Court for the: ______________________________________
                                                                                                                                                      Check if this is an
 Case number           ___________________________________________
  (If known)                                                                                                                                            amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property. If more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

 Part 1:             List All of Your PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims against you?
        
        X
          No. Go to Part 2.
         Yes.
      2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
        each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
        nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority
        unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
        (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                      Total claim    Priority     Nonpriority
                                                                                                                                                     amount       amount
2.1
         ____________________________________________                 Last 4 digits of account number ___ ___ ___ ___            $_____________ $___________ $____________
         Priority Creditor’s Name

         ____________________________________________                 When was the debt incurred?          ____________
         Number             Street
         ____________________________________________
                                                                      As of the date you file, the claim is: Check all that apply.
         ____________________________________________
         City                                State      ZIP Code
                                                                         Contingent
                                                                         Unliquidated
         Who incurred the debt? Check one.
                                                                         Disputed
               Debtor 1 only
               Debtor 2 only                                         Type of PRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                               Domestic support obligations
               At least one of the debtors and another
                                                                         Taxes and certain other debts you owe the government
               Check if this claim is for a community debt              Claims for death or personal injury while you were
         Is the claim subject to offset?                                  intoxicated
               No                                                       Other. Specify _________________________________
               Yes
2.2
         ____________________________________________                 Last 4 digits of account number ___ ___ ___ ___                $_____________ $___________ $____________
         Priority Creditor’s Name
                                                                      When was the debt incurred?          ____________
         ____________________________________________
         Number             Street
         ____________________________________________                 As of the date you file, the claim is: Check all that apply.

         ____________________________________________
                                                                         Contingent
         City                                State      ZIP Code         Unliquidated
         Who incurred the debt? Check one.                               Disputed
               Debtor 1 only
                                                                      Type of PRIORITY unsecured claim:
               Debtor 2 only
                                                                         Domestic support obligations
               Debtor 1 and Debtor 2 only
               At least one of the debtors and another
                                                                         Taxes and certain other debts you owe the government
                                                                         Claims for death or personal injury while you were
               Check if this claim is for a community debt               intoxicated
         Is the claim subject to offset?                                 Other. Specify _________________________________
               No
               Yes


Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     10
                                                                                                                                                          page 1 of ___
                Case   17-50323-jrs Doc 1
                 Kristie Jackson Stargell
                                                                      Filed 01/05/17 Entered 01/05/17 12:45:06 Desc Main
Debtor 1             _______________________________________________________
                     First Name      Middle Name          Last Name   Document Page 38 of Case
                                                                                            80 number (if known)_____________________________________
  Part 2:           List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      
      X
        Yes

  4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      priority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than four priority unsecured claims
      fill out the Continuation Page of Part 2.

                                                                                                                                                                 Total claim
4.1
       Bank of America, N.A.
       _____________________________________________________________                   Last 4 digits of account number ___ ___ ___ ___
       Nonpriority Creditor’s Name                                                                                                                              3,700.00
                                                                                                                                                               $__________________
                                                                                       When was the debt incurred?           ____________
       Loss/Recovery POB 982284
       _____________________________________________________________
       Number               Street

       El Paso                  TX               79998
       _____________________________________________________________
       City                                              State         ZIP Code        As of the date you file, the claim is: Check all that apply.

                                                                                          Contingent
       Who incurred the debt? Check one.                                                  Unliquidated
          X
               Debtor 1 only                                                              Disputed
              Debtor 2 only
              Debtor 1 and Debtor 2 only                                              Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                                    Student loans

              Check if this claim is for a community debt                                Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
       Is the claim subject to offset?                                                    Debts to pension or profit-sharing plans, and other similar debts
       
       X
               No                                                                      
                                                                                       X                  Credit Card Charges
                                                                                           Other. Specify ______________________________________
              Yes

4.2
       Basix                                                                           Last 4 digits of account number ___ ___ ___ ___                           3,933.00
                                                                                                                                                               $__________________
       _____________________________________________________________
       Nonpriority Creditor’s Name                                                     When was the debt incurred?           ____________
       Dept LA 24483
       _____________________________________________________________
       Number               Street
                                                                                       As of the date you file, the claim is: Check all that apply.
        Pasadena              CA                  91185-4483
       _____________________________________________________________
       City                                              State         ZIP Code
                                                                                          Contingent
       Who incurred the debt? Check one.                                                  Unliquidated

          X
               Debtor 1 only
                                                                                          Disputed

              Debtor 2 only
                                                                                       Type of NONPRIORITY unsecured claim:
              Debtor 1 and Debtor 2 only
              At least one of the debtors and another                                    Student loans
                                                                                          Obligations arising out of a separation agreement or divorce
              Check if this claim is for a community debt                                 that you did not report as priority claims
       Is the claim subject to offset?                                                    Debts to pension or profit-sharing plans, and other similar debts

          X
               No                                                                      
                                                                                       X                  unsecured loan
                                                                                           Other. Specify ______________________________________

              Yes

4.3
       Capital One Bank (USA), NA
       _____________________________________________________________                   Last 4 digits of account number ___ ___ ___ ___
                                                                                                                                                                 600.00
       Nonpriority Creditor’s Name                                                                                                                             $_________________
                                                                                       When was the debt incurred?           ____________
       POB 30281
       _____________________________________________________________
       Number               Street

       Salt Lake City           UT               84130
       _____________________________________________________________                   As of the date you file, the claim is: Check all that apply.
       City                                              State         ZIP Code

                                                                                          Contingent
       Who incurred the debt? Check one.
                                                                                          Unliquidated
          X
               Debtor 1 only
                                                                                          Disputed
              Debtor 2 only
              Debtor 1 and Debtor 2 only
                                                                                       Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
                                                                                          Student loans
              Check if this claim is for a community debt                                Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
       Is the claim subject to offset?
                                                                                          Debts to pension or profit-sharing plans, and other similar debts
       
       X       No
                                                                                       
                                                                                       X                  Credit Card Charges
                                                                                           Other. Specify ______________________________________
              Yes




  Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                        page2__ of ___
                                                                                                                                                                               10
                  Case   17-50323-jrs
                   Kristie Jackson StargellDoc 1                      Filed 01/05/17 Entered 01/05/17 12:45:06 Desc Main
Debtor 1           _______________________________________________________
                   First Name       Middle Name           Last Name   Document Page 39 of Case
                                                                                            80 number (if known)_____________________________________
 Part 2:          Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                         Total claim


4.4                                                                                                                     5 ___
                                                                                       Last 4 digits of account number ___ 5 ___
                                                                                                                              7 ___
                                                                                                                                 5
      Children's Healthcare of Atlanta
      _____________________________________________________________                                                                                              460.00
                                                                                                                                                               $____________
      Nonpriority Creditor’s Name
                                                                                       When was the debt incurred?           ____________
      POB 3475
      _____________________________________________________________
      Number            Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      Toledo                   OH               43607
      _____________________________________________________________
      City                                             State          ZIP Code            Contingent
                                                                                          Unliquidated
      Who incurred the debt? Check one.                                                   Disputed
      X
             Debtor 1 only
            Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                          Student loans
            At least one of the debtors and another
                                                                                          Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
            Check if this claim is for a community debt
                                                                                          Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                  
                                                                                       X                  Medical Services
                                                                                           Other. Specify________________________________
      
      X
             No
            Yes



4.5
      Discover Bank                                                                    Last 4 digits of account number ___ ___ ___ ___                           1,000.00
                                                                                                                                                               $____________
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                       When was the debt incurred?           ____________
      POB 3025
      _____________________________________________________________
      Number            Street
                                                                                       As of the date you file, the claim is: Check all that apply.
       New Albany                      OH        43054
      _____________________________________________________________
      City                                             State          ZIP Code            Contingent
                                                                                          Unliquidated
      Who incurred the debt? Check one.                                                   Disputed
      X     Debtor 1 only
            Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                          Student loans
            At least one of the debtors and another
                                                                                          Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
            Check if this claim is for a community debt
                                                                                          Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                  
                                                                                       X                  Credit Card Charges
                                                                                           Other. Specify________________________________
      
      X      No
            Yes


4.6                                                                                                                                                              2,940.00
                                                                                                                                                               $____________
      Dixie Finance Company, Inc.                                                                                       0 ___
                                                                                       Last 4 digits of account number ___ 0 ___
                                                                                                                              0 ___
                                                                                                                                 4
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                       When was the debt incurred?           ____________
      2450 Piedmont Road #E-4
      _____________________________________________________________
      Number            Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      Atlanta                         GA        30324
      _____________________________________________________________
      City                                             State          ZIP Code            Contingent
                                                                                          Unliquidated
      Who incurred the debt? Check one.                                                   Disputed
      X     Debtor 1 only
            Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                          Student loans
            At least one of the debtors and another
                                                                                          Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
            Check if this claim is for a community debt
                                                                                          Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                  
                                                                                       X                  unsecured loan
                                                                                           Other. Specify________________________________
      
      X      No
            Yes




  Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 3__ of ___
                                                                                                                                                                           10
                  Case   17-50323-jrs
                   Kristie Jackson StargellDoc 1                      Filed 01/05/17 Entered 01/05/17 12:45:06 Desc Main
Debtor 1           _______________________________________________________
                   First Name       Middle Name           Last Name   Document Page 40 of Case
                                                                                            80 number (if known)_____________________________________
 Part 2:          Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                         Total claim


4.7                                                                                                                     5 ___
                                                                                       Last 4 digits of account number ___ 7 ___
                                                                                                                              1 ___
                                                                                                                                 4
      First Franklin Financial Corp.
      _____________________________________________________________                                                                                              1,695.00
                                                                                                                                                               $____________
      Nonpriority Creditor’s Name
                                                                                       When was the debt incurred?           1/5/2016
                                                                                                                             ____________
      7436 Douglas Blvd Ste B
      _____________________________________________________________
      Number            Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      Douglasville             GA               30135
      _____________________________________________________________
      City                                             State          ZIP Code            Contingent
                                                                                          Unliquidated
      Who incurred the debt? Check one.                                                   Disputed
      X
             Debtor 1 only
            Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                          Student loans
            At least one of the debtors and another
                                                                                          Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
            Check if this claim is for a community debt
                                                                                          Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                  
                                                                                       X                  unsecured loan
                                                                                           Other. Specify________________________________
      
      X
             No
            Yes



4.8
      Fortiva Personal Loans                                                           Last 4 digits of account number ___ ___ ___ ___                           2,600.00
                                                                                                                                                               $____________
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                       When was the debt incurred?           ____________
      Mid America B&T Co POB 105555
      _____________________________________________________________
      Number            Street
                                                                                       As of the date you file, the claim is: Check all that apply.
       Atlanta                         GA        30348-5555
      _____________________________________________________________
      City                                             State          ZIP Code            Contingent
                                                                                          Unliquidated
      Who incurred the debt? Check one.                                                   Disputed
      X     Debtor 1 only
            Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                          Student loans
            At least one of the debtors and another
                                                                                          Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
            Check if this claim is for a community debt
                                                                                          Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                  
                                                                                       X                  unsecured loan
                                                                                           Other. Specify________________________________
      
      X      No
            Yes


4.9                                                                                                                                                              350.00
                                                                                                                                                               $____________
                                                                                       Last 4 digits of account number ___ ___ ___ ___
      Merrick Bank
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                       When was the debt incurred?           ____________
      POB 171379
      _____________________________________________________________
      Number            Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      Salt Lake City                  UT        84117
      _____________________________________________________________
      City                                             State          ZIP Code            Contingent
                                                                                          Unliquidated
      Who incurred the debt? Check one.                                                   Disputed
      X     Debtor 1 only
            Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                          Student loans
            At least one of the debtors and another
                                                                                          Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
            Check if this claim is for a community debt
                                                                                          Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                  
                                                                                       X                  Credit Card Charges
                                                                                           Other. Specify________________________________
      
      X      No
            Yes




  Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 4__ of ___
                                                                                                                                                                           10
                   Case   17-50323-jrs
                    Kristie Jackson StargellDoc 1                      Filed 01/05/17 Entered 01/05/17 12:45:06 Desc Main
Debtor 1            _______________________________________________________
                    First Name       Middle Name           Last Name   Document Page 41 of Case
                                                                                             80 number (if known)_____________________________________
 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                          Total claim


4.10                                                                                                                     7 ___
                                                                                        Last 4 digits of account number ___ 8 ___
                                                                                                                               7 ___
                                                                                                                                  0
       OneMain Financial
       _____________________________________________________________                                                                                              2,800.00
                                                                                                                                                                $____________
       Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?           ____________
       6801 Colwell Blvd
       _____________________________________________________________
       Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Irving                   TX               75039
       _____________________________________________________________
       City                                             State          ZIP Code            Contingent
                                                                                           Unliquidated
       Who incurred the debt? Check one.                                                   Disputed
       X
              Debtor 1 only
             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                           Student loans
             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                  
                                                                                        X                  unsecured loan
                                                                                            Other. Specify________________________________
       
       X
              No
             Yes



4.11
       Premier Bankcard/Charter                                                         Last 4 digits of account number ___ ___ ___ ___                           350.00
                                                                                                                                                                $____________
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?           ____________
       POB 2208
       _____________________________________________________________
       Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
        Vacaville                       CA        95696
       _____________________________________________________________
       City                                             State          ZIP Code            Contingent
                                                                                           Unliquidated
       Who incurred the debt? Check one.                                                   Disputed
       X     Debtor 1 only
             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                           Student loans
             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                  
                                                                                        X                  Credit Card Charges
                                                                                            Other. Specify________________________________
       
       X      No
             Yes


4.12                                                                                                                                                              1,100.00
                                                                                                                                                                $____________
       Republic Finance                                                                                                  5 ___
                                                                                        Last 4 digits of account number ___ 5 ___
                                                                                                                               7 ___
                                                                                                                                  3
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?           ____________
       3081 Hwy 5
       _____________________________________________________________
       Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Douglasville                    GA        30135-2387
       _____________________________________________________________
       City                                             State          ZIP Code            Contingent
                                                                                           Unliquidated
       Who incurred the debt? Check one.                                                   Disputed
       X     Debtor 1 only
             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                           Student loans
             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                  
                                                                                        X                  unsecured loan
                                                                                            Other. Specify________________________________
       
       X      No
             Yes




  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 5__ of ___
                                                                                                                                                                            10
                   Case   17-50323-jrs
                    Kristie Jackson StargellDoc 1                      Filed 01/05/17 Entered 01/05/17 12:45:06 Desc Main
Debtor 1            _______________________________________________________
                    First Name       Middle Name           Last Name   Document Page 42 of Case
                                                                                             80 number (if known)_____________________________________
 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                          Total claim


4.13                                                                                    Last 4 digits of account number ___ ___ ___ ___
       Synchrony Bank
       _____________________________________________________________                                                                                              3,000.00
                                                                                                                                                                $____________
       Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?           ____________
       POB 965007
       _____________________________________________________________
       Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Orlando                  FL               32896
       _____________________________________________________________
       City                                             State          ZIP Code            Contingent
                                                                                           Unliquidated
       Who incurred the debt? Check one.                                                   Disputed
       X
              Debtor 1 only
             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                           Student loans
             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                  
                                                                                        X                  Credit Card Charges
                                                                                            Other. Specify________________________________
       
       X
              No
             Yes



4.14
       Synchrony Bank                                                                   Last 4 digits of account number ___ ___ ___ ___                           3,000.00
                                                                                                                                                                $____________
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?           ____________
       See Attachment 1
       _____________________________________________________________
       Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
        Miami                           FL        33131
       _____________________________________________________________
       City                                             State          ZIP Code            Contingent
                                                                                           Unliquidated
       Who incurred the debt? Check one.                                                   Disputed
       X     Debtor 1 only
             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                           Student loans
             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                  
                                                                                        X                  Credit Card Charges
                                                                                            Other. Specify________________________________
       
       X      No
             Yes


4.15                                                                                                                                                              2,000.00
                                                                                                                                                                $____________
                                                                                        Last 4 digits of account number ___ ___ ___ ___
       Synchrony Bank
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?           ____________
       POB 965007
       _____________________________________________________________
       Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Orlando                         FL        32896
       _____________________________________________________________
       City                                             State          ZIP Code            Contingent
                                                                                           Unliquidated
       Who incurred the debt? Check one.                                                   Disputed
       X     Debtor 1 only
             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                           Student loans
             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                  
                                                                                        X                  Credit Card Charges
                                                                                            Other. Specify________________________________
       
       X      No
             Yes




  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 6__ of ___
                                                                                                                                                                            10
                   Case   17-50323-jrs
                    Kristie Jackson StargellDoc 1                      Filed 01/05/17 Entered 01/05/17 12:45:06 Desc Main
Debtor 1            _______________________________________________________
                    First Name       Middle Name           Last Name   Document Page 43 of Case
                                                                                             80 number (if known)_____________________________________
 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                          Total claim


4.16                                                                                    Last 4 digits of account number ___ ___ ___ ___
       Synchrony Bank / Brandsmart
       _____________________________________________________________                                                                                              3,200.00
                                                                                                                                                                $____________
       Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?           ____________
       POB 965005
       _____________________________________________________________
       Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Orlando                  FL               32896
       _____________________________________________________________
       City                                             State          ZIP Code            Contingent
                                                                                           Unliquidated
       Who incurred the debt? Check one.                                                   Disputed
       X
              Debtor 1 only
             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                           Student loans
             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                  
                                                                                        X                  Credit Card Charges
                                                                                            Other. Specify________________________________
       
       X
              No
             Yes



4.17
       TD BankUSA/Target                                                                Last 4 digits of account number ___ ___ ___ ___                           2,500.00
                                                                                                                                                                $____________
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?           ____________
       POB 673
       _____________________________________________________________
       Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
        Minneapolis                     MN        55440
       _____________________________________________________________
       City                                             State          ZIP Code            Contingent
                                                                                           Unliquidated
       Who incurred the debt? Check one.                                                   Disputed
       X     Debtor 1 only
             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                           Student loans
             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                  
                                                                                        X                  Credit Card Charges
                                                                                            Other. Specify________________________________
       
       X      No
             Yes


4.18                                                                                                                                                              940.00
                                                                                                                                                                $____________
       The Home Depot/CBNA                                                                                               7 ___
                                                                                        Last 4 digits of account number ___ 2 ___
                                                                                                                               5 ___
                                                                                                                                  3
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?           ____________
       POB 6497
       _____________________________________________________________
       Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Sioux Falls                     SD        57117
       _____________________________________________________________
       City                                             State          ZIP Code            Contingent
                                                                                           Unliquidated
       Who incurred the debt? Check one.                                                   Disputed
       X     Debtor 1 only
             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                           Student loans
             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                  
                                                                                        X                  Credit Card Charges
                                                                                            Other. Specify________________________________
       
       X      No
             Yes




  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 7__ of ___
                                                                                                                                                                            10
                   Case   17-50323-jrs
                    Kristie Jackson StargellDoc 1                      Filed 01/05/17 Entered 01/05/17 12:45:06 Desc Main
Debtor 1            _______________________________________________________
                    First Name       Middle Name           Last Name   Document Page 44 of Case
                                                                                             80 number (if known)_____________________________________
 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                          Total claim


4.19                                                                                    Last 4 digits of account number ___ ___ ___ ___
       US Dept of Education
       _____________________________________________________________                                                                                              290,000.00
                                                                                                                                                                $____________
       Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?           ____________
       Direct Loan Servicing Center
       _____________________________________________________________
       Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       Greenville               TX               75403
       _____________________________________________________________
       City                                             State          ZIP Code            Contingent
                                                                                           Unliquidated
       Who incurred the debt? Check one.                                                   Disputed
       X
              Debtor 1 only
             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                        
                                                                                        X   Student loans
             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                     Other. Specify________________________________
       
       X
              No
             Yes



4.20
                                                                                        Last 4 digits of account number ___ ___ ___ ___                         $____________
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?           ____________
       _____________________________________________________________
       Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _____________________________________________________________
       City                                             State          ZIP Code            Contingent
                                                                                           Unliquidated
       Who incurred the debt? Check one.                                                   Disputed
             Debtor 1 only
             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                           Student loans
             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                     Other. Specify________________________________
             No
             Yes


4.21                                                                                                                                                            $____________
                                                                                        Last 4 digits of account number ___ ___ ___ ___
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?           ____________
       _____________________________________________________________
       Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _____________________________________________________________
       City                                             State          ZIP Code            Contingent
                                                                                           Unliquidated
       Who incurred the debt? Check one.                                                   Disputed
             Debtor 1 only
             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                           Student loans
             At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                     Other. Specify________________________________
             No
             Yes




  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 8__ of ___
                                                                                                                                                                            10
            Case   17-50323-jrs Doc 1
             Kristie Jackson Stargell
                                                               Filed 01/05/17 Entered 01/05/17 12:45:06 Desc Main
Debtor 1       _______________________________________________________
               First Name    Middle Name           Last Name   Document Page 45 of Case
                                                                                     80 number (if known)_____________________________________
Part 3:       List Others to Be Notified About a Debt That You Already Listed

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
    example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
    2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
    additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

     Basix
     _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     POB 1009
     _____________________________________________________
                                                                               4.2 of (Check one):
                                                                          Line _____                    Part 1: Creditors with Priority Unsecured Claims
     Number         Street                                                                             
                                                                                                       X
                                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
     _____________________________________________________
                                                                          Last 4 digits of account number ___ ___ ___ ___
     Palatine, IL 60078-1009
     _____________________________________________________
     City                                  State               ZIP Code


     OneMain Financial
     _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     1012 Memorial Drive
     _____________________________________________________
                                                                               4.10 of (Check one):
                                                                          Line _____                    Part 1: Creditors with Priority Unsecured Claims
     Number         Street
                                                                                                       
                                                                                                       X
                                                                                                         Part 2: Creditors with Nonpriority Unsecured
     Ste 8
     _____________________________________________________                Claims

     Griffin, GA 30223-2096
     _____________________________________________________                                                 7 ___
                                                                          Last 4 digits of account number ___ 8 ___
                                                                                                                 7 ___
                                                                                                                    0
     City                                  State               ZIP Code


     _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                          Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number         Street                                                                              Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                          Claims

     _____________________________________________________                Last 4 digits of account number ___ ___ ___ ___
     City                                  State               ZIP Code


     _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                          Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number         Street                                                                              Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                          Claims

     _____________________________________________________                Last 4 digits of account number ___ ___ ___ ___
     City                                  State               ZIP Code


     _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                          Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number         Street                                                                              Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                          Claims

     _____________________________________________________                Last 4 digits of account number ___ ___ ___ ___
     City                                  State               ZIP Code


     _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                          Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number         Street                                                                              Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                          Claims

     _____________________________________________________                Last 4 digits of account number ___ ___ ___ ___
     City                                  State               ZIP Code


     _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________                Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number         Street
                                                                                                        Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________                Claims

     _____________________________________________________
     City                                  State               ZIP Code
                                                                          Last 4 digits of account number ___ ___ ___ ___


  Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                              page9__ of 10
                                                                                                                                                              ___
           Case   17-50323-jrs Doc 1
            Kristie Jackson Stargell
                                                             Filed 01/05/17 Entered 01/05/17 12:45:06 Desc Main
Debtor 1       _______________________________________________________
               First Name    Middle Name         Last Name   Document Page 46 of Case
                                                                                   80 number (if known)_____________________________________
Part 4:    Add the Amounts for Each Type of Unsecured Claim


6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159.
    Add the amounts for each type of unsecured claim.




                                                                                       Total claim


                6a. Domestic support obligations                               6a.
Total claims                                                                           $_________________________
from Part 1
                6b. Taxes and certain other debts you owe the
                    government                                                 6b.     $_________________________

                6c. Claims for death or personal injury while you were
                    intoxicated                                                6c.
                                                                                       $_________________________

                6d. Other. Add all other priority unsecured claims.
                    Write that amount here.                                    6d.
                                                                                     + $_________________________

                6e. Total. Add lines 6a through 6d.                            6e.
                                                                                       $_________________________



                                                                                       Total claim

                6f. Student loans                                              6f.
Total claims                                                                             290,000.00
                                                                                        $_________________________
from Part 2
                6g. Obligations arising out of a separation agreement
                    or divorce that you did not report as priority
                    claims                                                     6g.       0.00
                                                                                        $_________________________

                6h. Debts to pension or profit-sharing plans, and other
                    similar debts                                              6h.      0.00
                                                                                       $_________________________

                6i. Other. Add all other nonpriority unsecured claims.
                    Write that amount here.                                    6i.   + $_________________________
                                                                                        36,168.00


                6j. Total. Add lines 6f through 6i.                            6j.
                                                                                         326,168.00
                                                                                        $_________________________




  Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                               page10
                                                                                                                                          __ of ___
                                                                                                                                                10
Case 17-50323-jrs    Doc 1    Filed 01/05/17 Entered 01/05/17 12:45:06   Desc Main
                              Document Page 47 of 80



                                   Attachment
                 Debtor: Kristie Jackson Stargell           Case No:

Attachment 1
         c/o Recovery Management Systems Corp. 25 SE 2nd Ave Ste 1120
               Case 17-50323-jrs                Doc 1       Filed 01/05/17 Entered 01/05/17 12:45:06                               Desc Main
                                                            Document Page 48 of 80

 Fill in this information to identify your case:

 Debtor               Kristie Jackson Stargell
                      __________________________________________________________________
                       First Name             Middle Name            Last Name

 Debtor 2              ________________________________________________________________
 (Spouse If filing)    First Name             Middle Name            Last Name


                                        Northern District of Georgia
 United States Bankruptcy Court for the:______________________________________

 Case number           ___________________________________________
  (If known)                                                                                                                             Check if this is an
                                                                                                                                            amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
      
      X
           No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.

      Person or company with whom you have the contract or lease                               State what the contract or lease is for

2.1
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.2
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.3
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.4
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.5
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code



Official Form 106G                             Schedule G: Executory Contracts and Unexpired Leases                                                      1
                                                                                                                                              page 1 of ___
                Case 17-50323-jrs                      Doc 1              Filed 01/05/17 Entered 01/05/17 12:45:06                  Desc Main
                                                                          Document Page 49 of 80
 Fill in this information to identify your case:

 Debtor 1          Kristie Jackson Stargell
                   __________________________________________________________________
                      First Name                    Middle Name                 Last Name

 Debtor 2             ________________________________________________________________
 (Spouse, if filing) First Name                     Middle Name                 Last Name


                                        Northern District of Georgia
 United States Bankruptcy Court for the:_______________________________________

 Case number          ____________________________________________
  (If known)
                                                                                                                                             Check if this is an
                                                                                                                                               amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                               12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      
      X    No
          Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      
      X
           No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                No
                Yes. In which community state or territory did you live? __________________. Fill in the name and current address of that person.


                 ______________________________________________________________________
                 Name of your spouse, former spouse, or legal equivalent

                 ______________________________________________________________________
                 Number              Street

                 ______________________________________________________________________
                 City                                             State                     ZIP Code

 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
      shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
      Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
      Schedule E/F, or Schedule G to fill out Column 2.

       Column 1: Your codebtor                                                                            Column 2: The creditor to whom you owe the debt

                                                                                                          Check all schedules that apply:
3.1
         ________________________________________________________________________________                  Schedule D, line ______
         Name

         ________________________________________________________________________________
                                                                                                          Schedule E/F, line ______
         Number             Street                                                                         Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                   ZIP Code

3.2
         ________________________________________________________________________________                  Schedule D, line ______
         Name

         ________________________________________________________________________________
                                                                                                          Schedule E/F, line ______
         Number             Street                                                                         Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                   ZIP Code

3.3
         ________________________________________________________________________________                  Schedule D, line ______
         Name

         ________________________________________________________________________________
                                                                                                          Schedule E/F, line ______
         Number             Street                                                                         Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                   ZIP Code

Official Form 106H                                                           Schedule H: Your Codebtors                                                     1
                                                                                                                                                 page 1 of ___
               Case 17-50323-jrs              Doc 1       Filed 01/05/17 Entered 01/05/17 12:45:06                              Desc Main
                                                          Document Page 50 of 80
 Fill in this information to identify your case:


 Debtor 1            Kristie Jackson Stargell
                    ____________________________________________________________________
                     First Name             Middle Name            Last Name

 Debtor 2            ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name            Last Name


                                          Northern District of Georgia
 United States Bankruptcy Court for the: ___________________________________________

 Case number         ___________________________________________                                   Check if this is:
  (If known)
                                                                                                    An amended filing
                                                                                                    A supplement showing post-petition
                                                                                                       chapter 13 income as of the following date:
                                                                                                       ________________
Official Form 106I                                                                                     MM / DD / YYYY

Schedule I: Your Income                                                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


  Part 1:           Describe Employment


 1. Fill in your employment
     information.                                                         Debtor 1                                     Debtor 2 or non-filing spouse

     If you have more than one job,
     attach a separate page with
     information about additional         Employment status            
                                                                       X Employed                                      Employed
     employers.                                                         Not employed                                 FillNot
                                                                                                                            outemployed
                                                                                                                               this information:
     Include part-time, seasonal, or
     self-employed work.
                                          Occupation                  Teacher
                                                                      __________________________________          __________________________________
     Occupation may Include student
     or homemaker, if it applies.
                                          Employer’s name            Atlanta Public Schools
                                                                     __________________________________           __________________________________


                                          Employer’s address         130 Trinity Avenue SW
                                                                   ________________________________________     ________________________________________
                                                                      Number Street                              Number    Street

                                                                   ________________________________________     ________________________________________

                                                                   ________________________________________     ________________________________________

                                                                     Atlanta, GA 30303
                                                                   ________________________________________     ________________________________________
                                                                      City             State ZIP Code             City                State ZIP Code

                                          How long employed there?         _______
                                                                           17 years                                _______

  Part 2:           Give Details About Monthly Income

     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
     spouse unless you are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
     below. If you need more space, attach a separate sheet to this form.

                                                                                               For Debtor 1        For Debtor 2 or
                                                                                                                   non-filing spouse
  2. List monthly gross wages, salary, and commissions (before all payroll
       deductions). If not paid monthly, calculate what the monthly wage would be.      2.      6,561.52                 0.00
                                                                                              $___________             $____________

  3. Estimate and list monthly overtime pay.                                            3.   + $___________
                                                                                                 0.00             +      0.00
                                                                                                                       $____________


  4. Calculate gross income. Add line 2 + line 3.                                       4.     6,561.52
                                                                                              $__________                0.00
                                                                                                                       $____________




Official Form 106I                                             Schedule I: Your Income                                                             page 1
              Case 17-50323-jrs                          Doc 1            Filed 01/05/17 Entered 01/05/17 12:45:06                                          Desc Main
                                                                          Document Page 51 of 80
Debtor 1          Kristie Jackson Stargell
                  _______________________________________________________                                                   Case number (if known)_____________________________________
                  First Name        Middle Name               Last Name



                                                                                                                           For Debtor 1         For Debtor 2 or
                                                                                                                                                non-filing spouse

     Copy line 4 here ............................................................................................  4.       6,561.52
                                                                                                                            $___________              0.00
                                                                                                                                                    $_____________

  5. List all payroll deductions:

      5a. Tax, Medicare, and Social Security deductions                                                            5a.       410.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________
      5b. Mandatory contributions for retirement plans                                                             5b.      387.97
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________
      5c. Voluntary contributions for retirement plans                                                             5c.      0.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________
      5d. Required repayments of retirement fund loans                                                             5d.      0.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________
      5e. Insurance                                                                                                5e.      358.47
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________
      5f. Domestic support obligations                                                                             5f.      0.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________

      5g. Union dues                                                                                               5g.      0.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________
                                     None
      5h. Other deductions. Specify: __________________________________                                            5h.    + $____________
                                                                                                                              0.00              +    0.00
                                                                                                                                                    $_____________

  6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                    6.       1,156.44
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________

  7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                            7.       5,405.08
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________


  8. List all other income regularly received:

      8a. Net income from rental property and from operating a business,
          profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total                                                0.00                     0.00
                                                                                                                           $____________            $_____________
            monthly net income.                                                                                    8a.
      8b. Interest and dividends                                                                                   8b.       0.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________
      8c. Family support payments that you, a non-filing spouse, or a dependent
          regularly receive
            Include alimony, spousal support, child support, maintenance, divorce                                            0.00                     0.00
                                                                                                                           $____________            $_____________
            settlement, and property settlement.                                                                   8c.
      8d. Unemployment compensation                                                                                8d.       0.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________
      8e. Social Security                                                                                          8e.       0.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________
      8f. Other government assistance that you regularly receive
          Include cash assistance and the value (if known) of any non-cash assistance
          that you receive, such as food stamps (benefits under the Supplemental                                           $____________              0.00
                                                                                                                                                    $_____________
          Nutrition Assistance Program) or housing subsidies.
          Specify: ___________________________________________________ 8f.

      8g. Pension or retirement income                                                                             8g.       0.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________

      8h. Other monthly income. Specify: _______________________________                                           8h.    + $____________        + $_____________
                                                                                                                                                    0.00

  9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                          9.       0.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________

 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                     10.
                                                                                                                             5,405.08
                                                                                                                           $___________     +         0.00
                                                                                                                                                    $_____________       =     5,405.08
                                                                                                                                                                             $_____________

 11. State all other regular contributions to the expenses that you list in Schedule J.
     Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
     friends or relatives.
     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
              None
     Specify: _______________________________________________________________________________                                                                      11. + $_____________
                                                                                                                                                                          0.00

 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
     Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                            12.         5,405.08
                                                                                                                                                                             $_____________
                                                                                                                                                                             Combined
                                                                                                                                                                             monthly income
  13. Do you expect an increase or decrease within the year after you file this form?
      
      X
            No.
           Yes. Explain:


  Official Form 106I                                                               Schedule I: Your Income                                                                    page 2
                Case 17-50323-jrs               Doc 1         Filed 01/05/17 Entered 01/05/17 12:45:06                                Desc Main
                                                              Document Page 52 of 80
 Fill in this information to identify your case:

 Debtor 1          Kristie Jackson Stargell
                   __________________________________________________________________
                     First Name              Middle Name              Last Name                       Check if this is:
 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name              Middle Name              Last Name
                                                                                                       An amended filing
                                                                                                       A supplement showing post-petition chapter 13
                                         Northern District of Georgia
 United States Bankruptcy Court for the: ______________________________________                            expenses as of the following date:
                                                                                                           ________________
 Case number         ___________________________________________                                           MM / DD / YYYY
  (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:             Describe Your Household

1. Is this a joint case?

   
   X     No. Go to line 2.
        Yes. Does Debtor 2 live in a separate household?

                 
                 X   No
                    Yes. Debtor 2 must file Official Forms 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents?                      No                                 Dependent’s relationship to                 Dependent’s   Does dependent live
    Do not list Debtor 1 and                
                                            X    Yes. Fill out this information for Debtor 1 or Debtor 2                        age           with you?
    Debtor 2.                                    each dependent .........................
    Do not state the dependents’                                                    Daughter                                    13
                                                                                                                                                  No
                                                                                    _________________________                   ________
    names.                                                                                                                                    
                                                                                                                                              X
                                                                                                                                                   Yes

                                                                                    Daughter
                                                                                    _________________________                   10
                                                                                                                                ________          No
                                                                                                                                              
                                                                                                                                              X
                                                                                                                                                   Yes

                                                                                    _________________________                   ________          No
                                                                                                                                                  Yes

                                                                                    _________________________                   ________          No
                                                                                                                                                  Yes

                                                                                    _________________________                   ________          No
                                                                                                                                                  Yes

3. Do your expenses include
    expenses of people other than
                                            
                                            X    No
    yourself and your dependents?               Yes

Part 2:          Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule I: Your Income (Official Form B 106I.)                                           Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                   1,684.00
                                                                                                                                  $_____________________
     any rent for the ground or lot.                                                                                      4.

     If not included in line 4:
     4a.       Real estate taxes                                                                                          4a.      0.00
                                                                                                                                  $_____________________
     4b.       Property, homeowner’s, or renter’s insurance                                                               4b.      0.00
                                                                                                                                  $_____________________
     4c.       Home maintenance, repair, and upkeep expenses                                                              4c.      20.00
                                                                                                                                  $_____________________
     4d.       Homeowner’s association or condominium dues                                                                4d.      0.00
                                                                                                                                  $_____________________

 Official Form 106J                                           Schedule J: Your Expenses                                                             page 1
             Case 17-50323-jrs                 Doc 1          Filed 01/05/17 Entered 01/05/17 12:45:06                    Desc Main
                                                              Document Page 53 of 80
Debtor 1          Kristie Jackson Stargell
                 _______________________________________________________                  Case number (if known)_____________________________________
                 First Name    Middle Name        Last Name




                                                                                                                      Your expenses

                                                                                                                       0.00
                                                                                                                     $_____________________
 5. Additional mortgage payments for your residence, such as home equity loans                                5.


 6. Utilities:

      6a.   Electricity, heat, natural gas                                                                    6a.      375.00
                                                                                                                     $_____________________
      6b.   Water, sewer, garbage collection                                                                  6b.      90.08
                                                                                                                     $_____________________
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                    6c.      418.00
                                                                                                                     $_____________________
      6d.                   Alarm
            Other. Specify: _______________________________________________                                   6d.      26.00
                                                                                                                     $_____________________

 7. Food and housekeeping supplies                                                                            7.       575.00
                                                                                                                     $_____________________

 8. Childcare and children’s education costs                                                                  8.       0.00
                                                                                                                     $_____________________
 9. Clothing, laundry, and dry cleaning                                                                       9.       100.00
                                                                                                                     $_____________________
10.   Personal care products and services                                                                     10.      100.00
                                                                                                                     $_____________________
11.   Medical and dental expenses                                                                             11.      90.00
                                                                                                                     $_____________________

12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                       400.00
                                                                                                                     $_____________________
      Do not include car payments.                                                                            12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.      0.00
                                                                                                                     $_____________________
14.   Charitable contributions and religious donations                                                        14.      0.00
                                                                                                                     $_____________________
                                                                                                                                                   16.
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                     15a.     0.00
                                                                                                                     $_____________________
      15b. Health insurance                                                                                   15b.     0.00
                                                                                                                     $_____________________
      15c. Vehicle insurance                                                                                  15c.     242.00
                                                                                                                     $_____________________
      15d. Other insurance. Specify:_______________________________________                                   15d.     0.00
                                                                                                                     $_____________________

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                       0.00
                                                                                                                     $_____________________
      Specify: ________________________________________________________                                       16.

17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                                         17a.     0.00
                                                                                                                     $_____________________

      17b. Car payments for Vehicle 2                                                                         17b.     0.00
                                                                                                                     $_____________________

                           SL
      17c. Other. Specify:_______________________________________________                                     17c.    161.00
                                                                                                                     $_____________________

      17d. Other. Specify:_______________________________________________                                     17d.   $_____________________

18.   Your payments of alimony, maintenance, and support that you did not report as deducted from
      your pay on line 5, Schedule I, Your Income (Official Form 106I).                                        18.     0.00
                                                                                                                     $_____________________

19.   Other payments you make to support others who do not live with you.
      Specify:_______________________________________________________                                          19.    0.00
                                                                                                                     $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                        20a.    0.00
                                                                                                                     $_____________________

      20b. Real estate taxes                                                                                  20b.    0.00
                                                                                                                     $_____________________

      20c. Property, homeowner’s, or renter’s insurance                                                       20c.    0.00
                                                                                                                     $_____________________

      20d. Maintenance, repair, and upkeep expenses                                                           20d.    0.00
                                                                                                                     $_____________________

      20e. Homeowner’s association or condominium dues                                                        20e.    0.00
                                                                                                                     $_____________________



  Official Form 106J                                          Schedule J: Your Expenses                                                   page 2
                Case 17-50323-jrs            Doc 1           Filed 01/05/17 Entered 01/05/17 12:45:06                         Desc Main
                                                             Document Page 54 of 80
Debtor 1         Kristie Jackson Stargell
                 _______________________________________________________                      Case number (if known)_____________________________________
                 First Name    Middle Name       Last Name




21.    Other. Specify: _________________________________________________                                          21.   +$_____________________
                                                                                                                           0.00


22.    Calculate your monthly expenses.                                                                                   4,281.08
                                                                                                                         $_____________________
       22a. Add lines 4 through 21.
                                                                                                                         $_____________________
       22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                               4,281.08
                                                                                                                         $_____________________
       22c. Add line 22a and 22b. The result is your monthly expenses.                                            22.




23. Calculate your monthly net income.
                                                                                                                           5,405.08
                                                                                                                          $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                        23a.

      23b.   Copy your monthly expenses from line 22 above.                                                      23b.   – $_____________________
                                                                                                                           4,281.08

      23c.   Subtract your monthly expenses from your monthly income.
                                                                                                                            1,124.00
                                                                                                                          $_____________________
             The result is your monthly net income.                                                              23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      
      X
          No.
         Yes.      Explain here:




  Official Form 106J                                         Schedule J: Your Expenses                                                        page 3
               Case 17-50323-jrs                       Doc 1            Filed 01/05/17 Entered 01/05/17 12:45:06                                                      Desc Main
                                                                        Document Page 55 of 80

 Fill in this information to identify your case:

 Debtor 1          Kristie                 Jackson               Stargell
                   __________________________________________________________________
                     First Name                      Middle Name                     Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                     Last Name


                                         Northern District of Georgia
 United States Bankruptcy Court for the: ______________________________________

 Case number         ___________________________________________                                                                                                            Check if this is an
                     (If known)                                                                                                                                               amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Part 1:        Summarize Your Assets


                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................
                                                                                                                                                                             301,831.00
                                                                                                                                                                           $ ________________



    1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................               34,204.39
                                                                                                                                                                           $ ________________


    1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                             336,035.39
                                                                                                                                                                           $ ________________



Part 2:        Summarize Your Liabilities



                                                                                                                                                                       Your liabilities
                                                                                                                                                                       Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............
                                                                                                                                                                             260,112.00
                                                                                                                                                                           $ ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                           $ ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ..........................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F ......................................
                                                                                                                                                                       +     326,168.00
                                                                                                                                                                           $ ________________


                                                                                                                                     Your total liabilities                  586,280.00
                                                                                                                                                                           $ ________________



Part 3:        Summarize Your Income and Expenses


4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I ........................................................................................
                                                                                                                                                                             5,405.08
                                                                                                                                                                           $ ________________


5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22, Column A, of Schedule J..................................................................................                       4,281.08
                                                                                                                                                                           $ ________________




Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical Information                                                  page 1 of 2
               Case 17-50323-jrs                Doc 1          Filed 01/05/17 Entered 01/05/17 12:45:06                             Desc Main
                                                               Document Page 56 of 80
Debtor 1    Kristie                Jackson               Stargell
                _______________________________________________________                            Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




Part 4:        Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
    
    X
      Yes


7. What kind of debt do you have?

    
    X
      Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-10 for statistical purposes. 28 U.S.C. § 159.

     Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                 6,561.52
                                                                                                                                       $ _________________




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                           Total claim


     From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)
                                                                                                            0.00
                                                                                                           $_____________________

    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)
                                                                                                            0.00
                                                                                                           $_____________________

    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)
                                                                                                            0.00
                                                                                                           $_____________________


    9d. Student loans. (Copy line 6f.)
                                                                                                            0.00
                                                                                                           $_____________________

    9e. Obligations arising out of a separation agreement or divorce that you did not report as
        priority claims. (Copy line 6g.)                                                                    0.00
                                                                                                           $_____________________


    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                 0.00
                                                                                                        + $_____________________


    9g. Total. Add lines 9a through 9f.                                                                      0.00
                                                                                                           $_____________________




    Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                      page 2 of 2
                  Case 17-50323-jrs                   Doc 1      Filed 01/05/17 Entered 01/05/17 12:45:06                               Desc Main
                                                                 Document Page 57 of 80
Fill in this information to identify your case:

Debtor 1          Kristie Jackson Stargell
                  __________________________________________________________________
                    First Name                 Middle Name              Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name                 Middle Name              Last Name


                                                Northern District Of Georgia
United States Bankruptcy Court for the: _______________________________________

Case number         ___________________________________________
(If known)
                                                                                                                                               Check if this is an
                                                                                                                                                  amended filing



  Official Form 106Dec
  Declaration About an Individual Debtor’s Schedules                                                                                                          12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Below



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       
       X
         No
       Yes.          Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                                   Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




         /s/Kristie Jackson Stargell
          ______________________________________________             
                                                                      _____________________________
         Signature of Debtor 1                                             Signature of Debtor 2


              01/05/2017
         Date _________________                                            Date _________________
                MM /    DD       /   YYYY                                           MM / DD /   YYYY




  Official Form 106Dec                                         Declaration About an Individual Debtor’s Schedules                                         page 1
 Case 17-50323-jrs                         Doc 1            Filed 01/05/17 Entered 01/05/17 12:45:06                                               Desc Main
                                                            Document Page 58 of 80


B 203
(12/94)



                                            UNITED STATES BANKRUPTCY COURT
                                                             Northern District of Georgia


In re          Kristie Jackson Stargell                                                                      Case No.


Debtor                                                                                                       Chapter            13

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.    Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named
      debtor(s) and that compensation paid to me within one year before the filing of the petition in bankruptcy, or
      agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in contemplation of or
      in connection with the bankruptcy case is as follows:

For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 $   4,250.00
Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                   $   0.00
Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   $   4,250.00

2.    The source of compensation paid to me was:
           Debtor Other (specify)

3.    The source of compensation to be paid to me is:
           Debtor Other (specify)

4.     I have not agreed to share the above-disclosed compensation with any other person unless they are
          members and associates of my law firm.

       I have agreed to share the above-disclosed compensation with a other person or persons who are not
          members or associates of my law firm. A copy of the agreement, together with a list of the names of the
          people sharing in the compensation, is attached.

5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case,
including:

      a)     Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file
             a petition in bankruptcy;

      b)     Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

      c)     Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned
             hearings thereof;

      d)     Representation of the debtor in adversary proceedings and other contested bankruptcy matters;

      e)     [Other provisions as needed]
             Should the case de dismissed prior to confirmation of the plan, the balance of funds held by the Trustee
             after adjustments for payments under 11 USC 1326 (a)(1)(B) or (C) and administrative fees shall be paid to
             Debtor's attorney up to $2,000.00. Any balance above $2,000.00 shall be requested by Debtor's attorney
             through a fee application. Should the case be dismissed after confirmation, the Trustee shall pay to Debtor's
             attorney from the funds held the full remaining base fee. In the event of a Conversion: Should the current
             case be converted after confirmation of the plan, Debtor hereby directs the Chapter 13 Trustee to pay
             Debtor's attorney the balance of the base fee. Should the current case be converted prior to confirmation,
             Debtor hereby directs the Chapter 13 Trustee to pay Debtor's attorney the balance of the base fee up to
             $2,000.00.
 Case 17-50323-jrs             Doc 1       Filed 01/05/17 Entered 01/05/17 12:45:06                       Desc Main
                                           Document Page 59 of 80
                     DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR (Continued)



6.   By agreement with the debtor(s), the above-disclosed fee does not include the following services:
      None.

Post-confirmation Services and Fees are as follows:
Service                                                                                        Fee

Post-confirmation modification to add creditor                                                   $   200.00
Post-confirmation modification (e.g. change in income or employment)                             $   400.00
Post-bar date review lien avoidance                                                              $   600.00
Other post-bar date review modification                                                          $   600.00
Post-confirmation MFR for non-payment or no insurance                                            $   600.00
Post-confirmation MFR w/pay dispute                                                              $   600.00
Motion to suspend plan payments/excuse default                                                   $   600.00
Motion to sell property of the estate                                                            $   600.00
Motion to approve compromise                                                                     $   600.00
Application to employ professional                                                               $   400.00
Applications/motions to refinance                                                                $   600.00
Post-bar date review Trustee Motion to Dismiss                                                   $   400.00
Hardship Discharge motions                                                                       $   400.00
Trustee or creditor motion to modify plan                                                        $   600.00
Post-confirmation stay violations                                                                $   600.00
Objections to late claims                                                                        $   400.00
Motion to sever/dismiss to one joint debtor                                                      $   600.00
Motion to reopen or vacate dismissal                                                             $   600.00
Motion to re-impose stay                                                                         $   600.00
Adversary proceeding                                                                                 Hourly
Appellate practice                                                                                   Hourly
(Any services not specifically set forth above are deemed to fall within the Base Fee)



7.   Debtor’s Attorney certifies that the Debtor(s) has received a copy of the Rights and Responsibilities Statement
     Between Chapter 13 Debtor’s and their Attorney and that said statement has been explained to the Debtor(s).



                                                     CERTIFICATION

              I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
     me for representation of the debtor(s) in this bankruptcy proceeding.
              I certify I have given a copy of the Rights and Responsibilities to the Debtor.
              I hereby certify that I delivered to the debtor this notice required by § 342(b) of the Bankruptcy Code.


                   January 5, 2017                                          /s/A. Allen Hammond
                        Date                                                  A. Allen Hammond
                                                                            Signature of Attorney

                                                                        Hammond & Hammond, P.C.
                                                                            Name of law firm
                Case 17-50323-jrs               Doc 1      Filed 01/05/17 Entered 01/05/17 12:45:06                            Desc Main
                                                           Document Page 60 of 80
  Fill in this information to identify your case:                                                              Check as directed in lines 17 and 21:
                                                                                                               According to the calculations required by
  Debtor 1          Kristie Jackson Stargell
                    __________________________________________________________________                         this Statement:
                      First Name             Middle Name             Last Name

  Debtor 2            ________________________________________________________________                            1. Disposable income is not determined
  (Spouse, if filing) First Name             Middle Name             Last Name                                        under 11 U.S.C. § 1325(b)(3).
                                          NORTHERN DISTRICT OF GEORGIA
  United States Bankruptcy Court for the: ______________________________________                               
                                                                                                               X
                                                                                                                   2. Disposable income is determined
                                                                                                                      under 11 U.S.C. § 1325(b)(3).
  Case number         ___________________________________________
  (If known)                                                                                                      3. The commitment period is 3 years.
                                                                                                               
                                                                                                               X
                                                                                                                   4. The commitment period is 5 years.


                                                                                                              
                                                                                                               Check if this is an amended filing



Official Form 122C–1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                           12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If
more space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the
top of any additional pages, write your name and case number (if known).


Part 1:          Calculate Your Average Monthly Income

1. What is your marital and filing status? Check one only.
   
   X    Not married. Fill out Column A, lines 2-11.
       Married. Fill out both Columns A and B, lines 2-11.

   Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
   bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
   August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in
   the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the income
   from that property in one column only. If you have nothing to report for any line, write $0 in the space.

                                                                                                   Column A             Column B
                                                                                                   Debtor 1             Debtor 2 or
                                                                                                                        non-filing spouse

2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
   payroll deductions).                                                                              6,561.52
                                                                                                   $__________            $__________

3. Alimony and maintenance payments. Do not include payments from a spouse.
                                                                                                         0.00
                                                                                                   $__________            $__________

4. All amounts from any source which are regularly paid for household expenses of
   you or your dependents, including child support. Include regular contributions from
   an unmarried partner, members of your household, your dependents, parents, and
   roommates. Do not include payments from a spouse. Do not include payments you
   listed on line 3.                                                                                    0.00
                                                                                                   $_________             $__________

5. Net income from operating a business, profession, or
                                                                    Debtor 1     Debtor 2
   farm
   Gross receipts (before all deductions)
                                                                       0.00
                                                                     $______   $______
                                                                             _         _
   Ordinary and necessary operating expenses                    –      0.00 –_ $______ _
                                                                     $______
                                                                                            Copy
   Net monthly income from a business, profession, or farm
                                                                       0.00
                                                                     $______     $______ here          0.00
                                                                                                   $_________            $__________

6. Net income from rental and other real property                   Debtor 1     Debtor 2

   Gross receipts (before all deductions)                              0.00
                                                                     $______   $______
                                                                             _         _
   Ordinary and necessary operating expenses                    –      0.00 –_ $______ _
                                                                     $______
                                                                                            Copy
   Net monthly income from rental or other real property               0.00
                                                                     $______     $______ here          0.00
                                                                                                   $_________            $__________



 Official Form 122C–1              Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                          page 1
                     Case 17-50323-jrs                                        Doc 1
                                                               Filed 01/05/17 Entered 01/05/17 12:45:06 Desc Main
   Debtor 1              Kristie Jackson Stargell              Document
                         _______________________________________________________
                                                                                 Page 61 of Case
                                                                                            80 number (if known)_____________________________________
                         First Name               Middle Name                        Last Name



                                                                                                                                                                   Column A                                 Column B
                                                                                                                                                                   Debtor 1                                 Debtor 2 or
                                                                                                                                                                                                            non-filing spouse

7. Interest, dividends, and royalties                                                                                                                                       0.00
                                                                                                                                                                    $____________                               $__________

8. Unemployment compensation                                                                                                                                                0.00
                                                                                                                                                                    $____________                               $__________

     Do not enter the amount if you contend that the amount received was a benefit under
     the Social Security Act. Instead, list it here: ........................................ 

        For you.....................................................................................                        0.00
                                                                                                                  $_____________
        For your spouse.....................................................................                      $_____________

9. Pension or retirement income. Do not include any amount received that was a
     benefit under the Social Security Act.                                                                                                                                 0.00
                                                                                                                                                                    $____________                               $__________

10. Income from all other sources not listed above. Specify the source and amount.
     Do not include any benefits received under the Social Security Act or payments
     received as a victim of a war crime, a crime against humanity, or international or
     domestic terrorism. If necessary, list other sources on a separate page and put the
     total below.
        None                                                                                                                                                                0.00
                                                                                                                                                                    $____________                              $___________
        __________________________________________________________________
                                                                                                                                                                    $____________                              $___________
        __________________________________________________________________

       Total amounts from separate pages, if any.                                                                                                              + $____________
                                                                                                                                                                         0.00                             + $__________
11. Calculate your total average monthly income. Add lines 2 through 10 for each
     column. Then add the total for Column A to the total for Column B.                                                                                                 6,561.52
                                                                                                                                                                    $____________                    +         $___________                  =    6,561.52
                                                                                                                                                                                                                                                 $________
                                                                                                                                                                                                                                                 Total average
                                                                                                                                                                                                                                                 monthly income




Part 2:             Determine How to Measure Your Deductions from Income

12. Copy your total average monthly income from line 11. ..........................................................................................................................                                                                6,561.52
                                                                                                                                                                                                                                              $_____________
13. Calculate the marital adjustment. Check one:

     
     X
          You are not married. Fill in 0 below.
         You are married and your spouse is filing with you. Fill in 0 below.
         You are married and your spouse is not filing with you.
           Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of
           you or your dependents, such as payment of the spouse’s tax liability or the spouse’s support of someone other than
           you or your dependents.
           Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary,
           list additional adjustments on a separate page.

           If this adjustment does not apply, enter 0 below.
            __________________________________________________________________________                                                                                  $___________
            __________________________________________________________________________                                                                                  $___________

            __________________________________________________________________________                                                                              + $___________
          Total ................................................................................................................................................                0.00
                                                                                                                                                                        $___________
                                                                                                                                                                                                         Copy here                         ─____________
                                                                                                                                                                                                                                                    0.00


14. Your current monthly income. Subtract the total in line 13 from line 12.                                                                                                                                                                     6,561.52
                                                                                                                                                                                                                                              $ __________


15. Calculate your current monthly income for the year. Follow these steps:

     15a. Copy line 14 here                  ...........................................................................................................................................................................................         6,561.52
                                                                                                                                                                                                                                             $ ____________

            Multiply line 15a by 12 (the number of months in a year).                                                                                                                                                                        x 12
     15b. The result is your current monthly income for the year for this part of the form. ...................................................................................                                                                78,738.24
                                                                                                                                                                                                                                             $___________


   Official Form 122C–1                                Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                                                           page 2
                      Case 17-50323-jrs                                     Doc 1
                                                                Filed 01/05/17 Entered 01/05/17 12:45:06 Desc Main
   Debtor 1               Kristie Jackson Stargell              Document
                          _______________________________________________________
                                                                                  Page 62 of Case
                                                                                             80 number (if known)_____________________________________
                          First Name              Middle Name                     Last Name




16. Calculate the median family income that applies to you. Follow these steps:

     16a. Fill in the state in which you live.                                                                GA
                                                                                                           _________

     16b. Fill in the number of people in your household.                                                      3
                                                                                                           _________


     16c. Fill in the median family income for your state and size of household. .................................................................................................                                             61,705.00
                                                                                                                                                                                                                             $___________
              To find a list of applicable median income amounts, go online using the link specified in the separate
              instructions for this form. This list may also be available at the bankruptcy clerk’s office.

17. How do the lines compare?

     17a.          Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under
                    11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Disposable Income (Official Form 122C–2).

     17b. 
          X Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under
                    11 U.S.C. § 1325(b)(3). Go to Part 3 and fill out Calculation of Disposable Income (Official Form 122C–2).
                    On line 39 of that form, copy your current monthly income from line 14 above.


Part 3:                Calculate Your Commitment Period Under 11 U.S.C. §1325(b)(4)


18. Copy your total average monthly income from line 11. .............................................................................................................................
                                                                                                                                                                                                                               6,561.52
                                                                                                                                                                                                                             $__________

19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend that
     calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse’s income, copy
     the amount from line 13.
     19a. If the marital adjustment does not apply, fill in 0 on line 19a.                                                                                                                                                 ─ $__________
                                                                                                                                                                                                                                    0.00

     19b. Subtract line 19a from line 18.                                                                                                                                                                                      6,561.52
                                                                                                                                                                                                                             $__________


20. Calculate your current monthly income for the year. Follow these steps:

     20a. Copy line 19b.. ..............................................................................................................................................................................................       6,561.52
                                                                                                                                                                                                                            $___________

              Multiply by 12 (the number of months in a year).                                                                                                                                                             x 12
     20b. The result is your current monthly income for the year for this part of the form.                                                                                                                                   78,738.24
                                                                                                                                                                                                                            $___________


     20c. Copy the median family income for your state and size of household from line 16c. .....................................................................
                                                                                                                                                                                                                              61,705.00
                                                                                                                                                                                                                            $___________

21. How do the lines compare?

          Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3,
           The commitment period is 3 years. Go to Part 4.
     
     X
           Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form,
           check box 4, The commitment period is 5 years. Go to Part 4.


Part 4:             Sign Below


                    By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.

                     /s/Kristie Jackson Stargell
                           ___________________________________________________                                                               ____________________________________
                          Signature of Debtor 1                                                                                                    Signature of Debtor 2


                               01/05/2017
                          Date _________________                                                                                                   Date _________________
                                   MM / DD          / YYYY                                                                                                  MM /      DD        / YYYY


                    If you checked 17a, do NOT fill out or file Form 122C–2.
                    If you checked 17b, fill out Form 122C–2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.



   Official Form 122C–1                               Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                                         page 3
               Case 17-50323-jrs                 Doc 1       Filed 01/05/17 Entered 01/05/17 12:45:06                            Desc Main
                                                             Document Page 63 of 80

 Fill in this information to identify your case:

 Debtor 1           Kristie Jackson Stargell
                   __________________________________________________________________
                     First Name               Middle Name             Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name               Middle Name             Last Name


                                          NORTHERN DISTRICT OF GEORGIA
 United States Bankruptcy Court for the: _______________________________________

 Case number         ___________________________________________
 (If known)
                                                                                                                   Check if this is an amended filing


Official Form 122C–2
Chapter 13 Calculation of Your Disposable Income                                                                                                04/16

To fill out this form, you will need your completed copy of Chapter 13 Statement of Your Current Monthly Income and Calculation of
Commitment Period (Official Form 122C–1).
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If
more space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the
top of any additional pages, write your name and case number (if known).



Part 1:           Calculate Your Deductions from Your Income



    The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts
    to answer the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate
    instructions for this form. This information may also be available at the bankruptcy clerk’s office.

   Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use
   some of your actual expenses if they are higher than the standards. Do not include any operating expenses that you
   subtracted from income in lines 5 and 6 of Form 122C–1, and do not deduct any amounts that you subtracted from your
   spouse’s income in line 13 of Form 122C–1.

   If your expenses differ from month to month, enter the average expense.

   Note: Line numbers 1-4 are not used in this form. These numbers apply to information required by a similar form used in chapter 7 cases.




      5.   The number of people used in determining your deductions from income
           Fill in the number of people who could be claimed as exemptions on your federal income tax
           return, plus the number of any additional dependents whom you support. This number may                     3
           be different from the number of people in your household.



      National
                                  You must use the IRS National Standards to answer the questions in lines 6-7.
      Standards



      6. Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National                         1,249.00
                                                                                                                                     $___________
           Standards, fill in the dollar amount for food, clothing, and other items.



      7. Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National
           Standards, fill in the dollar amount for out-of-pocket health care. The number of people is split into two
           categories─people who are under 65 and people who are 65 or older─because older people have a higher IRS
           allowance for health care costs. If your actual expenses are higher than this IRS amount, you may deduct the
           additional amount on line 22.




Official Form 122C─2                                   Chapter 13 Calculation of Your Disposable Income                                             page 1
             Case 17-50323-jrs                            Doc 1             Filed 01/05/17 Entered 01/05/17 12:45:06                                                     Desc Main
                                                                            Document Page 64 of 80
Debtor 1        Kristie Jackson Stargell
                _______________________________________________________                                                           Case number (if known)_____________________________________
                First Name          Middle Name                 Last Name




            People who are under 65 years of age

                                                                         54.00
             7a. Out-of-pocket health care allowance per person $______________

             7b. Number of people who are under 65                                             3
                                                                                         X ______
                                                                                                                        Copy
             7c. Subtotal. Multiply line 7a by line 7b.                                          162.00
                                                                                         $______________                                    162.00
                                                                                                                                       $___________
                                                                                                                        here

              People who are 65 years of age or older

                                                                        130.00
             7d. Out-of-pocket health care allowance per person $______________

             7e. Number of people who are 65 or older                                          0
                                                                                         X ______
                                                                                                                        Copy
             7f. Subtotal. Multiply line 7d by line 7e.                                             0.00
                                                                                         $______________                here
                                                                                                                                     + $__________
                                                                                                                                              0.00

                                                                                                                                                      162.00
       7g. Total. Add lines 7c and 7f. ......................................................................................................... $___________                           162.00
                                                                                                                                                                Copy here ....... $___________


     Local
                         You must use the IRS Local Standards to answer the questions in lines 8-15.
     Standards

    Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for
    bankruptcy purposes into two parts:
     Housing and utilities – Insurance and operating expenses
     Housing and utilities – Mortgage or rent expenses

    To answer the questions in lines 8-9, use the U.S. Trustee Program chart. To find the chart, go online using the link
    specified in the separate instructions for this form. This chart may also be available at the bankruptcy clerk’s office.

    8. Housing and utilities – Insurance and operating expenses: Using the number of people you entered in line 5, fill
       in the dollar amount listed for your county for insurance and operating expenses.
                                                                                                                                                                                     593.00
                                                                                                                                                                                $___________


    9. Housing and utilities – Mortgage or rent expenses:

             9a. Using the number of people you entered in line 5, fill in the dollar amount
                   listed for your county for mortgage or rent expenses.
                                                                                                                                           1,320.00
                                                                                                                                       $____________

             9b. Total average monthly payment for all mortgages and other debts secured by
                  your home.
                   To calculate the total average monthly payment, add all amounts that are
                   contractually due to each secured creditor in the 60 months after you file
                   for bankruptcy. Next divide by 60.

                         Name of the creditor                                                Average monthly
                                                                                             payment


                       Caliber Homes
                       _________________________________                                       1,684.00
                                                                                              $__________
                       _________________________________                                      $__________
                       _________________________________
                                                                                         +    $__________
                                                                                                                        Copy
                                  9b. Total average monthly payment                             1,684.00
                                                                                              $__________                                  1,684.00 Repeat
                                                                                                                                     ─ $____________          this amount
                                                                                                                        here                        on line 33a.

            9c. Net mortgage or rent expense.
                  Subtract line 9b (total average monthly payment) from line 9a (mortgage or                                                   0.00 Copy here ........ $___________
                                                                                                                                       $____________                           0.00
                  rent expense). If this number is less than $0, enter $0.

   10. If you claim that the U.S. Trustee Program’s division of the IRS Local Standard for housing is incorrect and affects                                                            0.00
                                                                                                                                                                                $___________
       the calculation of your monthly expenses, fill in any additional amount you claim.
             Explain            _______________________________________________________________
             why:
                                _______________________________________________________________


Official Form 122C─2                                              Chapter 13 Calculation of Your Disposable Income                                                                                page 2
              Case 17-50323-jrs                   Doc 1            Filed 01/05/17 Entered 01/05/17 12:45:06                               Desc Main
                                                                   Document Page 65 of 80
Debtor 1           Kristie Jackson Stargell
                   _______________________________________________________                                Case number (if known)_____________________________________
                   First Name     Middle Name          Last Name



   11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.

               0. Go to line 14.
              1. Go to line 12.
              2 or more. Go to line 12.
               X




   12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the operating
       expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.                                         462.00
                                                                                                                                                   $___________


   13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for
       each vehicle below. You may not claim the expense if you do not make any loan or lease payments on the vehicle. In
       addition, you may not claim the expense for more than two vehicles.


            Vehicle 1            Describe Vehicle 1:     2010 Mercedes-Benz
                                                         _________________________________________________________________
                                                         _________________________________________________________________


       13a. Ownership or leasing costs using IRS Local Standard ......................................            471.00
                                                                                                            $____________

       13b. Average monthly payment for all debts secured by Vehicle 1.
               Do not include costs for leased vehicles.
               To calculate the average monthly payment here and on line 13e,
               add all amounts that are contractually due to each secured
               creditor in the 60 months after you file for bankruptcy. Then divide
               by 60.

                   Name of each creditor for Vehicle 1               Average monthly
                                                                     payment
                    COAF
                   _________________________________                        300.00
                                                                        $__________
                   _________________________________                +          0.00
                                                                        $__________
                                                                                            Copy                              Repeat this amount
                                Total average monthly payment
                                                                            300.00          here
                                                                                                          ─ $___________
                                                                                                                 300.00       on line 33b.
                                                                        $__________

       13c. Net Vehicle 1 ownership or lease expense                                                                           Copy net Vehicle
               Subtract line 13b from line 13a. If this number is less than $0, enter $0. .............          171.00
                                                                                                            $___________                            171.00
                                                                                                                               1 expense here $___________


            Vehicle 2            Describe Vehicle 2:     2004 Lexus
                                                         _________________________________________________________________
                                                         _________________________________________________________________


       13d. Ownership or leasing costs using IRS Local Standard ...................................            471.00
                                                                                                          $___________

       13e. Average monthly payment for all debts secured by Vehicle 2.
                Do not include costs for leased vehicles.

                   Name of each creditor for Vehicle 2               Average monthly
                                                                     payment
                   Pinnacle CU
                   _________________________________                         30.00
                                                                        $__________
                   _________________________________                +          0.00
                                                                        $__________
                                                                                             Copy                             Repeat this amount
                                Total average monthly payment
                                                                             30.00           here
                                                                                                          ─ $___________
                                                                                                                  30.00       on line 33c.
                                                                        $__________

           13f. Net Vehicle 2 ownership or lease expense                                                                       Copy net Vehicle
                                                                                                                441.00
                                                                                                            $__________        2 expense here        441.00
                                                                                                                                                $___________
               Subtract line 13e from 13d. If this number is less than $0, enter $0. .................
                                                                                                                               

   14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the Public
       Transportation expense allowance regardless of whether you use public transportation.                                                       $___________


   15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may also
       deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may not claim
       more than the IRS Local Standard for Public Transportation.
                                                                                                                                                          0.00
                                                                                                                                                   $___________


Official Form 122C─2                                     Chapter 13 Calculation of Your Disposable Income                                                         page 3
               Case 17-50323-jrs                  Doc 1           Filed 01/05/17 Entered 01/05/17 12:45:06                                             Desc Main
                                                                  Document Page 66 of 80
Debtor 1           Kristie Jackson Stargell
                   _______________________________________________________                                Case number (if known)_____________________________________
                   First Name     Middle Name         Last Name



     Other Necessary                In addition to the expense deductions listed above, you are allowed your monthly expenses for the
     Expenses                       following IRS categories.

   16. Taxes: The total monthly amount that you actually pay for federal, state and local taxes, such as income taxes,
       self-employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld
       from your pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected                                                   410.00
                                                                                                                                                                 $___________
       refund by 12 and subtract that number from the total monthly amount that is withheld to pay for taxes.
       Do not include real estate, sales, or use taxes.

   17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement contributions,
       union dues, and uniform costs.
       Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.                                           387.97
                                                                                                                                                                 $___________

   18. Life insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are filing
       together, include payments that you make for your spouse’s term life insurance.
       Do not include premiums for life insurance on your dependents, for a non-filing spouse’s life insurance, or for any form of
       life insurance other than term.                                                                                                                                  0.00
                                                                                                                                                                 $___________

   19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative
       agency, such as spousal or child support payments.                                                                                                               0.00
                                                                                                                                                                 $___________
       Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.

   20. Education: The total monthly amount that you pay for education that is either required:
        as a condition for your job, or                                                                                                                                0.00
                                                                                                                                                                 $___________
        for your physically or mentally challenged dependent child if no public education is available for similar services.

   21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
       Do not include payments for any elementary or secondary school education.                                                                                        0.00
                                                                                                                                                                 $___________
   22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care that is
       required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid by a health
       savings account. Include only the amount that is more than the total entered in line 7.
                                                                                                                                                                        0.00
                                                                                                                                                                 $___________
       Payments for health insurance or health savings accounts should be listed only in line 25.

   23. Optional telephones and telephone services: The total monthly amount that you pay for telecommunication services
       for you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell
       phone service, to the extent necessary for your health and welfare or that of your dependents or for the production of
       income, if it is not reimbursed by your employer.                                                                                                         +$_________
                                                                                                                                                                        0.00
       Do not include payments for basic home telephone, internet or cell phone service. Do not include self-employment
       expenses, such as those reported on line 5 of Form 122C-1, or any amount you previously deducted.

   24. Add all of the expenses allowed under the IRS expense allowances.                                                                                              3,875.97
                                                                                                                                                                 $___________
       Add lines 6 through 23.

     Additional Expense                   These are additional deductions allowed by the Means Test.
     Deductions                           Note: Do not include any expense allowances listed in lines 6-24.

   25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
       insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or
       your dependents.
           Health insurance                                          358.47
                                                                  $__________

           Disability insurance                                          0.00
                                                                  $__________
           Health savings account                                     0.00
                                                             + $__________
           Total                                                       358.47
                                                                  $__________     Copy total here ..........................................................................   358.47
                                                                                                                                                                           $___________

           Do you actually spend this total amount?
             No. How much do you actually spend?
                                                                  $__________
       
       X      Yes

   26. Continuing contributions to the care of household or family members. The actual monthly expenses that you will
       continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of
       your household or member of your immediate family who is unable to pay for such expenses. These expenses may                                                     0.00
                                                                                                                                                                 $___________
       include contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b).
    27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the safety of
           you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.                                                  0.00
                                                                                                                                                                 $___________
       By law, the court must keep the nature of these expenses confidential.


Official Form 122C─2                                   Chapter 13 Calculation of Your Disposable Income                                                                                   page 4
                Case 17-50323-jrs                           Doc 1             Filed 01/05/17 Entered 01/05/17 12:45:06                                              Desc Main
                                                                              Document Page 67 of 80
Debtor 1            Kristie Jackson Stargell
                   _______________________________________________________                                                        Case number (if known)_____________________________________
                   First Name          Middle Name               Last Name




    28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on line 8.
       If you believe that you have home energy costs that are more than the home energy costs included in expenses on line 8,
       then fill in the excess amount of home energy costs.                                                                                                                 $_______0.00
       You must give your case trustee documentation of your actual expenses, and you must show that the additional amount
       claimed is reasonable and necessary.


    29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more
                                                                                                                                                                            $_______0.00
           than $160.42* per child) that you pay for your dependent children who are younger than 18 years old to attend a
           private or public elementary or secondary school.
       You must give your case trustee documentation of your actual expenses, and you must explain why the amount
       claimed is reasonable and necessary and not already accounted for in lines 6-23.
       * Subject to adjustment on 4/01/19, and every 3 years after that for cases begun on or after the date of adjustment.


    30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are
                                                                                                                                                                            $_______0.00
           higher than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more
           than 5% of the food and clothing allowances in the IRS National Standards.
           To find a chart showing the maximum additional allowance, go online using the link specified in the separate
           instructions for this form. This chart may also be available at the bankruptcy clerk’s office.
           You must show that the additional amount claimed is reasonable and necessary.

    31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial
           instruments to a religious or charitable organization. 11 U.S.C. § 548(d)(3) and (4).                                                                                 0.00
                                                                                                                                                                          + $________
           Do not include any amount more than 15% of your gross monthly income.

    32. Add all of the additional expense deductions.                                                                                                                          358.47
                                                                                                                                                                          $_________
           Add lines 25 through 31.


     Deductions for Debt Payment

    33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
           loans, and other secured debt, fill in lines 33a through 33e.
       To calculate the total average monthly payment, add all amounts that are contractually due
       to each secured creditor in the 60 months after you file for bankruptcy. Then divide by 60.

                                                                                                                                           Average monthly
                                                                                                                                           payment
            Mortgages on your home                                                                         
            33a. Copy line 9b here ...................................................................................................       1,684.00
                                                                                                                                           $___________
           
            Loans on your first two vehicles                                                               
            33b. Copy line 13b here. ...............................................................................................           300.00
                                                                                                                                           $___________
      
            33c. Copy line 13e here. ...............................................................................................            30.00
                                                                                                                                           $___________

            33d. List other secured debts:

                                                                                                                      
                     Name of each creditor for other                               Identify property that            Does
                     secured debt                                                  secures the debt                  payment
                                                                                                                     include taxes
                                                                                                                     or insurance?

                                                                                                                      No      7.00
                                                                                                                               $___________
                     Rooms To Go
                     ___________________________________ HHG
                                                         ________________________                                     
                                                                                                                      X
                                                                                                                        Yes
                                                                                                                      No      35.00
                                                                                                                               $___________
                     W. S. Badcock Corp.
                     ___________________________________ HHG
                                                         ________________________                                     
                                                                                                                      X
                                                                                                                        Yes
                                                                                                                      No
                                                                                                                             + $___________
                     ___________________________________ ________________________                                     Yes
                                                                                                                                                             Copy total
            33e. Total average monthly payment. Add lines 33a through 33d. ..........................................                         2,056.00
                                                                                                                                           $___________                        2,056.00
                                                                                                                                                                            $_______
                                                                                                                                                             here


Official Form 122C-2                                               Chapter 13 Calculation of Your Disposable Income                                                                     page 5
             Case 17-50323-jrs                               Doc 1              Filed 01/05/17 Entered 01/05/17 12:45:06                                                                Desc Main
                                                                                Document Page 68 of 80
Debtor 1         Kristie Jackson Stargell
                 _______________________________________________________                                                                 Case number (if known)_____________________________________
                 First Name           Middle Name                  Last Name




   34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle, or other property necessary
       for your support or the support of your dependents?


           No. Go to line 35.
       
       X    Yes. State any amount that you must pay to a creditor, in addition to the payments listed in line 33, to keep
                 possession of your property (called the cure amount). Next, divide by 60 and fill in the information below.

                         Name of the creditor                         Identify property that                Total cure                                 Monthly cure amount
                                                                      secures the debt                      amount


                       Caliber Home Loans
                      _________________________                       Residence
                                                                      __________________                     1,700.00
                                                                                                            $__________              ÷ 60 =              28.33
                                                                                                                                                       $___________


                      _________________________                       __________________                    $__________              ÷ 60 =            $___________


                      _________________________                       __________________                    $__________              ÷ 60 = + $___________
                                                                                                                                                                                       Copy
                                                                                                                                    Total                    28.33
                                                                                                                                                       $___________                    total          28.33
                                                                                                                                                                                                $___________
                                                                                                                                                                                       here


   35. Do you owe any priority claimssuch as a priority tax, child support, or alimony that are past due as of
       the filing date of your bankruptcy case? 11 U.S.C. § 507.
       
       X
            No. Go to line 36.
           Yes. Fill in the total amount of all of these priority claims. Do not include current or
                 ongoing priority claims, such as those you listed in line 19.

                                                                                                                                                        0.00
                      Total amount of all past-due priority claims. ......................................................................... $______________                          ÷ 60             0.00
                                                                                                                                                                                                $___________
                                                                                                                                                                                       =
   36. Projected monthly Chapter 13 plan payment                                                                                                             1,124.00
                                                                                                                                                       $______________

       Current multiplier for your district as stated on the list issued by the Administrative
       Office of the United States Courts (for districts in Alabama and North Carolina) or by
       the Executive Office for United States Trustees (for all other districts).
                                                                                                                                                   x %______
       To find a list of district multipliers that includes your district, go online using the link
       specified in the separate instructions for this form. This list may also be available at the
       bankruptcy clerk’s office.
                                                                                                                                                                                       Copy
       Average monthly administrative expense                                                                                                                    0.00
                                                                                                                                                       $______________                 total           0.00
                                                                                                                                                                                                $___________
                                                                                                                                                                                       here


   37. Add all of the deductions for debt payment. Add lines 33e through 36.                                                                                                                       2,084.33
                                                                                                                                                                                                $___________




     Total Deductions from Income

   38. Add all of the allowed deductions.

                                                                                                                         3,875.97
      Copy line 24, All of the expenses allowed under IRS expense allowances ..................................... $______________

                                                                                                                                               358.47
      Copy line 32, All of the additional expense deductions ......................................................................... $______________

                                                                                                                                               2,084.33
      Copy line 37, All of the deductions for debt payment ............................................................................+ $______________
                                                                                                                                                                                       Copy
                                                                                                                                                                           6,318.77
      Total deductions ............................................................................................................................................. $______________   total       6,318.77
                                                                                                                                                                                                $___________
                                                                                                                                                                                       here 




Official Form 122C─2                                                 Chapter 13 Calculation of Your Disposable Income                                                                                          page 6
               Case 17-50323-jrs                           Doc 1            Filed 01/05/17 Entered 01/05/17 12:45:06                                              Desc Main
                                                                            Document Page 69 of 80
Debtor 1           Kristie Jackson Stargell
                   _______________________________________________________                                                     Case number (if known)_____________________________________
                   First Name         Middle Name               Last Name


Part 2:            Determine Your Disposable Income Under 11 U.S.C. § 1325(b)(2)

39. Copy your total current monthly income from line 14 of Form 122C-1, Chapter 13                                                                                            6,561.52
                                                                                                                                                                           $___________
     Statement of Your Current Monthly Income and Calculation of Commitment Period.......................................................................

40. Fill in any reasonably necessary income you receive for support for dependent
     children. The monthly average of any child support payments, foster care payments, or
     disability payments for a dependent child, reported in Part I of Form 122C-1, that you                                                        0.00
                                                                                                                                           $____________
     received in accordance with applicable nonbankruptcy law to the extent reasonably
     necessary to be expended for such child.

41. Fill in all qualified retirement deductions. The monthly total of all amounts that your
     employer withheld from wages as contributions for qualified retirement plans, as                                                              0.00
                                                                                                                                           $____________
     specified in 11 U.S.C. § 541(b)(7) plus all required repayments of loans from retirement
     plans, as specified in 11 U.S.C. § 362(b)(19).

                                                                                                         6,318.77
42. Total of all deductions allowed under 11 U.S.C. § 707(b)(2)(A). Copy line 38 here ............  $____________


43. Deduction for special circumstances. If special circumstances justify additional
     expenses and you have no reasonable alternative, describe the special circumstances
     and their expenses. You must give your case trustee a detailed explanation of the
     special circumstances and documentation for the expenses.

      Describe the special circumstances                                                   Amount of expense

       ______________________________________________________                                 $___________

       ______________________________________________________
                                                                                              $___________
       ______________________________________________________                              + $___________
                                                                                                                       Copy here
                                                                            Total
                                                                                                      0.00
                                                                                              $___________                          + $_____________
                                                                                                                                                0.00

                                                                                                                                                6,318.77
                                                                                                                                           $____________
44. Total adjustments. Add lines 40 through 43........................................................................................                    Copy here      – $________
                                                                                                                                                                              6,318.77



45. Calculate your monthly disposable income under § 1325(b)(2). Subtract line 44 from line 39.                                                                                 242.75
                                                                                                                                                                           $___________




Part 3:             Change in Income or Expenses


46. Change in income or expenses. If the income in Form 122C-1 or the expenses you reported in this form have changed
     or are virtually certain to change after the date you filed your bankruptcy petition and during the time your case will be
     open, fill in the information below. For example, if the wages reported increased after you filed your petition, check
     122C-1 in the first column, enter line 2 in the second column, explain why the wages increased, fill in when the increase
     occurred, and fill in the amount of the increase.

      Form                 Line       Reason for change                                         Date of change              Increase or          Amount of change
                                                                                                                            decrease?

      122C─1             ____         _______________________________                          ____________
                                                                                                                             Increase          $____________
     122C─2                                                                                                                Decrease
      122C─1             ____         _______________________________                          ____________
                                                                                                                             Increase          $____________
     122C─2                                                                                                                Decrease
      122C─1             ____         _______________________________                          ____________
                                                                                                                             Increase          $____________
     122C─2                                                                                                                Decrease

      122C─1             ____         _______________________________                          ____________
                                                                                                                             Increase          $____________
     122C─2                                                                                                                Decrease


Official Form 122C─2                                              Chapter 13 Calculation of Your Disposable Income                                                                        page 7
             Case 17-50323-jrs                     Doc 1         Filed 01/05/17 Entered 01/05/17 12:45:06                         Desc Main
               Kristie Jackson Stargell
                                                                 Document Page 70 of 80
Debtor 1       _______________________________________________________                            Case number (if known)_____________________________________
               First Name            Middle Name     Last Name



Part 4:         Sign Below




By signing here, under penalty of perjury you declare that the information on this statement and in any attachments is true and correct.



 /s/Kristie Jackson Stargell
    ___________________________________________________                    __________________________________
    Signature of Debtor 1                                                      Signature of Debtor 2


          01/05/2017
    Date _________________                                                     Date _________________
           MM / DD          / YYYY                                                  MM / DD      / YYYY




Official Form 122C─2                                  Chapter 13 Calculation of Your Disposable Income                                                  page 8
 Case 17-50323-jrs      Doc 1     Filed 01/05/17 Entered 01/05/17 12:45:06            Desc Main
                                  Document Page 71 of 80




                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA

             RIGHTS AND RESPONSIBILITIES STATEMENT BETWEEN
                CHAPTER 13 DEBTORS AND THEIR ATTORNEYS

        Chapter 13 of the Bankruptcy Code gives each debtor (“Debtor”) important rights, such
as the right to keep property that could otherwise be lost through repossession, foreclosure or
liquidation by a Chapter 7 Trustee. Chapter 13 also places burdens on Debtors, however, such as
the burden of making complete and truthful disclosures of their financial situation and prompt
payments as required by the Plan. It is important for Debtors who file a Chapter 13 bankruptcy
case to understand their rights and responsibilities to the court, the Chapter 13 Trustee and to
creditors. Debtors are entitled to expect certain services to be performed by their attorneys, but
Debtors also have responsibilities to their attorneys. To assure that Debtors and their attorneys
understand their rights and responsibilities in the Chapter 13 process, the judges of the
Bankruptcy Court for the Northern District of Georgia have approved this statement of rights and
responsibilities of Debtors and their attorneys in Chapter 13 cases that include, but are not
limited to the following, as each case’s facts may require more of both Debtor and Debtor’s
attorney.


BEFORE THE CASE IS FILED

       EACH DEBTOR SHALL:

1.     Discuss with the attorney the Debtor’s objectives in filing the case.

2.     Timely provide the attorney with full and accurate financial and other information,
       including, but not limited to:

       (a)     Copies of pay stubs or other evidence of payment received before the date of
               filing of the petition, as requested by the attorney;1

       (b)     Copies of all Federal income tax returns (or transcript of the returns) as requested
               by the attorney.2

3.     Inform the attorney of any and all prior bankruptcy cases Debtor has filed.3

4.     Provide copies of all bills, notices, statements or communications from creditors, as
       requested by attorney.4
 Case 17-50323-jrs     Doc 1     Filed 01/05/17 Entered 01/05/17 12:45:06             Desc Main
                                 Document Page 72 of 80



      THE ATTORNEY SHALL:

1.    Personally counsel Debtor regarding the advisability of filing either a Chapter 13 or a
      Chapter 7 case, discuss with Debtor the procedures in both Chapters, as well as non-
      bankruptcy options, and answer Debtor’s questions.

2.    Personally explain to Debtor the requirement of obtaining a certificate from an approved
      nonprofit budget and credit counseling agency.5

3.    Personally explain to Debtor that the attorney is being engaged to represent Debtor on all
      matters arising in the case, and explain how and when the attorney’s fees and the
      trustee’s fees are determined and paid.

4.    Personally review with Debtor and obtain Debtor’s signature on the completed petition,
      plan, as well as the Statement of Financial Affairs, Income and Expenses, and other
      statements as well as the various schedules (the “Schedules”), and all amendments
      thereto, whether filed with the petition or later. The Schedules may be prepared initially
      with the help of clerical or paralegal staff of the attorney’s office, but personal attention
      of the attorney is required for the review and signing by Debtor.

5.    Timely prepare and file Debtor’s petition, plan, Schedules, statement of monthly net
      income6, and any other required pleading.

6.    Explain to Debtor how, when and where to make all necessary payments, including both
      payments that must be made directly to creditors and payments that must be made to the
      Chapter 13 Trustee, with particular attention to housing, vehicle, and domestic support
      obligation payments.7

7.    Advise Debtor of the need to maintain appropriate insurance especially for house and
      vehicle.

8.    Inform Debtor of the need to potentially provide attorney with copies of each Federal
      income tax return (or transcript of the return) for each tax year ending while the Debtor is
      in the case.8

AFTER THE CASE IS FILED

      EACH DEBTOR SHALL:

1.    Appear punctually at the meeting of creditors (also called the “341 meeting”) with recent
      proof of income, a photo identification card, and proof of Social Security number.
      Acceptable forms of proof of identification are: driver’s license; government ID, state
      picture ID; student ID, U.S. passport; military ID; resident alien card. Acceptable forms
      of proof of Social Security number are: Social Security Card; medical insurance card; pay

                                                2
 Case 17-50323-jrs     Doc 1    Filed 01/05/17 Entered 01/05/17 12:45:06             Desc Main
                                Document Page 73 of 80



      stub; W-2 form; IRS form 1099; Social Security Administration Report. Debtor must be
      present both in time for check-in and when the case is called for the actual examination.

2.    Make the required payments to Trustee and to such creditors as are being paid directly,
      or, if required payments cannot be made, to notify the attorney immediately.

3.    Promptly provide attorney, upon their request, evidence of all payments made directly to
      creditors and Trustee, including amount and date of payment.9

4.    Notify the attorney immediately of any change in Debtor’s address or telephone number.

5.    Inform the attorney immediately of any wage garnishments, liens or levies on assets that
      occur or continue after the filing of the case.

6.    Contact the attorney immediately if Debtor loses employment, is “laid off” or furloughed
      from work or has any significant change in income; experiences any other significant
      change in financial situation, including serious illness, personal injury, lottery winnings,
      or an inheritance.

7.    Notify the attorney immediately if Debtor is sued or wishes to file a lawsuit, including
      divorce, matters regarding personal or property injury (including any worker’s
      compensation matters), and any other matter in which Debtor is involved in a lawsuit or
      legal action outside this court.

8.    Inform the attorney immediately if any tax refunds to which Debtor is entitled are seized
      or not received when due from the IRS or Georgia Department of Revenue.

9.    Contact the attorney before buying, refinancing, or contracting to sell real property, and
      before entering into any loan agreement.

10.   Complete an instructional course concerning personal financial management prior to
      receiving a discharge.10

      THE ATTORNEY SHALL:

1.    Advise the Debtor of the requirement to attend the meeting of creditors, and notify or
      remind Debtor of the date, time and place of the meeting, in such detail as is helpful or
      necessary to Debtor’s appearance.

2.    Inform Debtor that Debtor must be punctual and, in the case of a joint filing, that both
      spouses must appear at the same meeting.

3.    Provide competent legal representation for Debtor at the meeting of creditors, appear in
      time for check-in and the actual examination and, unless excused by Trustee, for the

                                               3
 Case 17-50323-jrs     Doc 1    Filed 01/05/17 Entered 01/05/17 12:45:06            Desc Main
                                Document Page 74 of 80



      confirmation hearing.

4.    If an attorney not employed by Debtor’s attorney’s law firm (a “contract” attorney) will
      be attending Debtor’s 341 meeting or any court hearing, personally explain to Debtor in
      advance the role and identity of the contract attorney, obtain Debtor’s written permission
      for the contract attorney to represent Debtor and provide the contract attorney with the
      file in sufficient time to review and discuss it with Debtor prior to such representation.

5.    Make all reasonable efforts for the individual attorney who met with Debtor to attend the
      § 341 meeting or any other court hearing. However, if that attorney is unavailable then
      an attorney will be present on behalf of the Debtor with knowledge of Debtor’s case and
      authority to make any modifications to Debtor’s plan deemed necessary.11

6.    Timely submit to Trustee properly documented proof of income for each Debtor,
      including business reports for self-employed debtors, and all required pay advises and tax
      returns or transcripts.12

7.    Timely respond to objections to plan confirmation, and where necessary, prepare, file and
      serve amended Schedules or an amended plan.

8.    Timely prepare, file, and serve any necessary annual financial statements13, amended
      statements and Schedules, and any change of address, in accordance with information
      provided by each Debtor.

9.    Monitor all incoming case information (including, but not limited to, Order Confirming
      Plan, Notice of Intent to Pay Claims, and 6-month status reports) for accuracy and
      completeness. Contact promptly Trustee or Debtor regarding any discrepancies.

10.   Promptly respond to Debtor’s questions through the term of the plan.

11.   Timely prepare, file and serve necessary modifications to the plan after confirmation,
      including modifications to suspend, lower, or increase plan payments.

12.   Prepare, file and serve necessary motions to buy or sell property and to incur debt.

13.   On or before 60 days after the general bar date, certify the attorney has reviewed claims
      with Debtor, prepared, filed and served objections to improper or invalid claims and filed
      claims within 30 days after the bar date for creditors who fail to file claims when such
      failure will adversely affect Debtor’s case or its successful completion and discharge or
      such failure will adversely affect Debtor after case completion and discharge.

14.   Timely confer with Debtor and respond to any motion to dismiss the case, such as for
      payment default, or unfeasibility, and to motions to increase the percentage payment to
      unsecured creditors.

                                               4
 Case 17-50323-jrs     Doc 1    Filed 01/05/17 Entered 01/05/17 12:45:06               Desc Main
                                Document Page 75 of 80



15.   Timely confer with Debtor and respond to motions for relief from stay.

16.   Timely prepare, file and serve appropriate motions to avoid liens.

17.   Provide any other legal services necessary for the administration of the case.



___________________________________
/s/Kristie Jackson Stargell                    ____________________________________
                                               /s/A. Allen Hammond
Debtor Kristie Jackson Stargell                Attorney A. Allen Hammond
Address 217 Saint Martins Lane SE              Address 122 South Main Street
Address Mableton, Georgia 30216                Address Jonesboro, Georgia 30236
Phone                                          Phone (770) 603-6572

DATED: January 5, 2017                         DATED: January 5, 2017



Debtor
Address
Address
Phone

DATED:




                                               5
 Case 17-50323-jrs        Doc 1    Filed 01/05/17 Entered 01/05/17 12:45:06               Desc Main
                                   Document Page 76 of 80



                                            ENDNOTES



1. Section 521(a)(1)(B)(iv) of the Bankruptcy Abuse Prevention and Consumer Protection Act
of 2005 (the “Act”) provides that the debtor shall file copies of all payment advices or other
evidence of payment received within 60 days before the date of the filing of the petition.
Additionally, this information would be useful in calculating the debtor’s “current monthly
income” as defined in § 101(10A), and the debtor’s “applicable commitment period” as specified
in § 1325(b)(4).

2. Section 1308(a) provides that not later than the day before the date on which the meeting of
creditors is first scheduled to be held, the debtor shall file with appropriate tax authorities all tax
returns for all tax periods ending during the 4 year period ending on the date of the filing of the
petition. Also, § 521(e)(2) states that not later than 7 days before the date first set for the first
meeting of creditors, the debtor shall provide to the trustee a copy of the Federal income tax
return (or transcript) for the most recent tax year ending immediately before the commencement
of the case.

3. Some of the most extensive changes in the Act deal with § 362. Section 362(c)(3) provides
that the automatic stay terminates on the 30th day after the filing of the case if the debtor had a
case pending during the previous year which was dismissed. Section 362(c)(4) states that if a
debtor has had two or more cases pending within the previous year which were dismissed, then
the automatic stay does not even go into effect. Of course nothing contained herein obviates the
need for attorneys to utilize all available methods to ascertain whether their clients have filed
cases previously.

4. Substantial changes have been made by the Act pertaining to notice. Section 342(c)(2)(A)
specifies how notice may be required to be given by the debtor to a creditor. If, within the 90
days before the commencement of the case, a creditor supplies the debtor in at least two
communications sent to the debtor with the current account number of the debtor and the address
at which such creditor requests to receive correspondence, then any notice required by this title
to be sent by the debtor to such creditor must be sent to such address and shall include such
account number.

5. Section 109(h) provides that in order to be a debtor under Title 11, during the 180 day period
preceding the date of filing of the petition, the individual must have received from an approved
nonprofit budget and credit counseling agency described in § 111(a) an individual or group
briefing that outlined the opportunities for available credit counseling and assisted such
individual in performing a related budget analysis.

6. See § 521(a)(1)(B)(v), which states that in addition to schedules and statement of financial
affairs, a debtor must file a statement of the amount of monthly net income, itemized to show
how the amount is calculated.


                                                   6
 Case 17-50323-jrs       Doc 1    Filed 01/05/17 Entered 01/05/17 12:45:06             Desc Main
                                  Document Page 77 of 80



7. “Domestic support obligation” is a defined term under § 101(14A). Pursuant to
§ 1307(c)(11), failure of a debtor to pay any post-petition domestic support obligation may be
the basis for the dismissal or conversion of the case. Section 1325(a)(8) makes the payment of
post-petition domestic support obligations a pre-requisite for the confirmation of the plan.

8. See § 521(f) which states, that at the request of any party in interest, a debtor shall file with
the Court a copy of each federal income tax return with respect to each tax year ending while the
case is pending.

9. Section 1326(a)(1)(C) states that if adequate protection payments are made directly to a
creditor, the trustee must be provided with evidence of the payment including the amount and
date of payment.

10. Section 1328(g)(1) mandates that the court shall not grant a discharge to a debtor unless the
debtor has completed an instructional course concerning personal financial management as
described in § 111.

11. It is anticipated that at the meeting of creditors parties will have an opportunity to negotiate
for purposes of resolving issues pertaining to the proposed treatment (i.e. value, monthly
distribution... e.g.) of creditors under the debtor’s plan. The Court expects that counsel for
debtors have the authority to negotiate binding arrangements with creditors and the trustee at the
meeting of creditors in order to obviate the need for time consuming objections to confirmation
to be filed in all instances.

12. See § 521(e)(2)(A)(i) which provides that not later than 7 days before the date first set for
the meeting of creditors the debtor shall provide to the trustee a copy of the Federal income tax
return (or transcript) for the most recent tax year.

13. Section 521(f)(4) states that at the request of the court, the United States Trustee, or any
party in interest, a debtor shall file a statement, under penalty of perjury, of the income and
expenditures of the debtor during the most recently concluded tax year and of the monthly
income of the debtor, that shows how income, expenditures, and monthly income are calculated.




                                                 7
Case 17-50323-jrs   Doc 1   Filed 01/05/17 Entered 01/05/17 12:45:06   Desc Main
                            Document Page 78 of 80
                                      Bank of America, N.A.
                                      Loss/Recovery
                                      POB 982284
                                      El Paso, TX 79998


                                      Basix
                                      Dept LA 24483
                                      Pasadena, CA 91185-4483



                                      Basix
                                      POB 1009
                                      Palatine, IL 60078-1009



                                      Caliber Home Loans
                                      POB 650856
                                      Dallas, TX 75265-0856



                                      Capital One Auto Finance
                                      POB 259407
                                      Plano, TX 75025



                                      Capital One Bank (USA), NA
                                      POB 30281
                                      Salt Lake City, UT 84130



                                      Children's Healthcare of Atlanta
                                      POB 3475
                                      Toledo, OH 43607



                                      Discover Bank
                                      POB 3025
                                      New Albany, OH 43054


                                      Dixie Finance Company, Inc.
                                      2450 Piedmont Road
                                      #E-4
                                      Atlanta, GA 30324
Case 17-50323-jrs   Doc 1   Filed 01/05/17 Entered 01/05/17 12:45:06   Desc Main
                            Document Page 79 of 80
                                      First Franklin Financial Corp.
                                      7436 Douglas Blvd
                                      Ste B
                                      Douglasville, GA 30135


                                      Fortiva Personal Loans
                                      Mid America B&T Co
                                      POB 105555
                                      Atlanta, GA 30348-5555


                                      Merrick Bank
                                      POB 171379
                                      Salt Lake City, UT 84117



                                      OneMain Financial
                                      6801 Colwell Blvd
                                      Irving, TX 75039


                                      OneMain Financial
                                      1012 Memorial Drive
                                      Ste 8
                                      Griffin, GA 30223-2096


                                      Pinnacle CU
                                      536 North Aveneu NE
                                      Atlanta, GA 30308



                                      Premier Bankcard/Charter
                                      POB 2208
                                      Vacaville, CA 95696



                                      Republic Finance
                                      3081 Hwy 5
                                      Douglasville, GA 30135-2387



                                      Rooms To Go
                                      1000 Macarthur Blvd
                                      Mahwah, NJ 07430
Case 17-50323-jrs   Doc 1   Filed 01/05/17 Entered 01/05/17 12:45:06   Desc Main
                            Document Page 80 of 80
                                      Rooms To Go
                                      POB 960061
                                      Orlando, FL 32896-0061



                                      Synchrony Bank
                                      POB 965007
                                      Orlando, FL 32896


                                      Synchrony Bank
                                      c/o Recovery Management Systems Corp.
                                      25 SE 2nd Ave Ste 1120
                                      Miami, FL 33131


                                      Synchrony Bank / Brandsmart
                                      POB 965005
                                      Orlando, FL 32896



                                      TD BankUSA/Target
                                      POB 673
                                      Minneapolis, MN 55440



                                      The Home Depot/CBNA
                                      POB 6497
                                      Sioux Falls, SD 57117



                                      US Dept of Education
                                      Direct Loan Servicing Center
                                      Greenville, TX 75403



                                      W. S. Badcock Corp.
                                      POB 724
                                      Mulberry, FL 33860
